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                       UNITED	STATES	FEDERAL	COURT	
                                    FOR		
                      THE	DISTRICT	OF	MASSACHUSETTS	
	     	      	      	     	    	      			
                                               	Civil	Complaint	No.	
	
James	W.	Cauger,	
George	Bergman,	
Ismenia	Bernardo	
Linda	Bozek,	
Mary	M.	Campbell,	
John	D.	Cotter,	
Irma	Dratwinski,	
Peter	Gagnon,	
Joseph	Grenier,	
Charles	Latimer	Jr.,	
Ely	O	Marques,		
Barbara	Menard,	
Maria	Moura,	
Maria	Pedro,	
Charmayne	Phillips,	
Lillian	Rickets,	
Ernest	Sickinger,	
George	Simonin,	
Donald	Skinner,	
Irene	Smith,	
Brett	Torngren,	
Frank	Torngren,		
Colleen	A.	Zarembovicz,	
Estate	of	Charles	W.	Balser,	
Estate	of	Audrey	Chase,	
Estate	of	Juliano	DiRenzo,	
Estate	of	Michael	P.	DiIorio,	
Estate	of	Carl	F.	Ellery,	
Estate	of	Maria	Fonseca,	
Estate	of	Richard	H.	Gaboury,	
Estate	of	Eugene	F.	Garneau,	
Estate	of	Evans	Gilmore,	
Estate	of	Lyford	W.	Gorman,	
Estate	of	Theodore	Guimond,	
Estate	of	David	Hoyle,	
Estate	of	Blanche	Leary,	
Estate	of	Elizabeth	A.	McCretton,	
Estate	of	Irene	Moitoza,	
Estate	of	Antonio	Resendes	


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Estate	of	Edward	Lewis	Schulze,	
Estate	of	Rose	Sheldon,	
Estate	of	Rose	Silvia,	
Estate	of	Louraine	E.	Sullivan,	
Estate	of	Pierrette	M.	Sullivan,	
Estate	of	Elmer	Thornhill,	
Estate	of	Barbara	M.	Turgeon,	and	
Estate	of	Anna	M.	Vallet	
Estate	of	Susan	Neveu	
				
					  PLAINTIFFS		
	
VS.	
	
Texas	Instruments,	Inc.	
	
and		
	
John	Doe,	
	
						 DEFENDANTS	
	
	
	
                       1st	Amended	COMPLAINT	
	
Now	come	the	Plaintiffs,	James	W.	Cauger,	George	Bergman,	Ismenia	
Bernardo,	Linda	Bozek,	Mary	M.	Campbell,	John	D.	Cotter,	Irma	Dratwinski,	
Peter	Gagnon,	Joseph	Grenier,	Charles	Latimer	Jr.,	Ely	O	Marques,	Barbara	
Menard,	Maria	Moura,	Maria	Pedro,	Charmayne	Phillips,	Lillian	Rickets,	Ernest	
Sickinger,	George	Simonin,	Donald	Skinner,	Irene	Smith,	Brett	Torngren,	
Frank	Torngren,	Colleen	A.	Zarembovicz,	Estate	of	Charles	W.	Balser,	Estate	of	
Audrey	Chase,	Estate	of	Juliano	DiRenzo,	Estate	of	Michael	P.	DiIorio,	Estate	of	
Carl	F.	Ellery,	Estate	of	Maria	Fonseca,	Estate	of	Richard	H.	Gaboury,	Estate	of	
Eugene	F.	Garneau,	Estate	of	Evans	Gilmore,	Estate	of	Lyford	W.	Gorman,	
Estate	of	Theodore	Guimond,	Estate	of	David	Hoyle,	Estate	of	Blanche	Leary,	
Estate	of	Elizabeth	A.	McCretton,	Estate	of	Irene	Moitoza,	Estate	of	Antonio	
Resendes,	Estate	of	Edward	Lewis	Schulze,	Estate	of	Rose	Sheldon,	Estate	of	
Rose	Silvia,	Estate	of	Louraine	E.	Sullivan,	Estate	of	Pierrette	M.	Sullivan,	
Estate	of	Elmer	Thornhill,	Estate	of	Barbara	M.	Turgeon,	Estate	of	Anna	M.	
Vallet,	and	Estate	of	Susan	Neveu	and	allege	as	follows:	
	
                                          	
                                          	
                                          	


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                                     PLAINTIFFS	
	

PLAINTIFF	ONE–	CAUGER	

    1.   The	 Plaintiff,	 James	 W.	 Cauger,	 currently	 resides	 at	 37	 Frog	 Pond	 Close,	

         Mashpee,	MA	02649.	

    2.   	James	Cauger	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M

         & C Nuclear, Inc., the wholly owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	 from	 1957-	 1959,	 and,	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

         other	radioactive	materials	while	employed	by	the	Defendant.	

    3.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	James	Cauger	

         developed	 cancer	 of	 the	 pharynx,	 squamous	 cell	 carcinoma	 (SCC)	 of	 the	

         tongue,	left	cheek,	glossotonisillar	sulcus,	left	retro	molar	trigon	and	left	

         hard	palate	was	diagnosed	on	or	about	June	28,	2013.	James	Cauger	has	

         also	 developed	 Peripheral	 Neuropathy	 in	 the	 legs	 and	 feet	 that	 were	

         medically	determined	to	not	be	the	result	of	diabetes.	

    4.   James	 Cauger	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	 result	 of	

         the	Defendant’s	conduct.	

    	

PLAINTIFF	TWO	–	BERGMAN	

    5.   The	Plaintiff,	George	Bergman,	currently	resides	at	956	South	Main	Street	

         Attleboro,	MA	02703.		




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       6.   George	Bergman	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

            M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

            Inc. (collectively “M&C”),	from	July	1977	to	May	2001	and,	as	a	direct	and	

            proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

            uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

            Defendant.	

       7.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 George	

            Bergman,	developed	basal	cell	carcinoma	on	the	chest	and	was	diagnosed	

            on	 January	 23,	 2001	 and	 developed	 squamous	 cell	 carcinoma	 in	 situ	 on	

            the	right	hand	and	was	diagnosed	on	November	26,	2012	

       8.   George	Bergman	suffered	these	injuries	as	a	direct	and	proximate	result	

            of	the	Defendant’s	conduct.	

       	

    PLAINTIFF	THREE	–	BERNARDO	

       9.   The	 Plaintiff,	 Ismenia	 Bernardo,	 currently	 resides	 at	 18	 Central	 Avenue	

            Seekonk,	MA	02771.		

       10. Ismenia	Bernardo	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

            M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

            Inc. (collectively “M&C”),	 from	 1975	 to	 2002	 and,	 as	 a	 direct	 and	

            proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

            uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

            Defendant.	




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    11. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Ismenia	

         Bernardo,	developed	breast	cancer	and	was	diagnosed	on	April	27,	2004.	

    12. Ismenia	Bernardo	suffered	these	injuries	as	a	direct	and	proximate	result	

         of	the	Defendant’s	conduct.	

	

PLAINTIFF	FOUR	–	BOZEK	

    13. The	 Plaintiff,	 Linda	 Bozek,	 currently	 resides	 at	 151	 Leawood	 Lane,	

         Attleboro,	MA	02703.		

    14. Linda	Bozek	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

         C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	 from	 1952	 to	 2002	 and,	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

         other	radioactive	materials	while	employed	by	the	Defendant.	

    15. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Linda	Bozek,	

         developed	 an	 enlarged	 lymph	 node	 with	 follicular	 lymphoma	 and	 was	

         diagnosed	 as	 grade	 1	 of	 3	 in	 August	 2009	 and	 low	 grade	 follicular	

         lymphoma,	Stage	III	diagnosed	as	lymphoma	in	December	2012.	

    16. Linda	Bozek	suffered	these	injuries	as	a	direct	and	proximate	result	of	the	

         Defendant’s	conduct.	

    	

PLAINTIFF	FIVE	–	CAMPBELL	

    17. The	 Plaintiff,	 Mary	 Campbell,	 currently	 resides	 222	 Mendon	 Road	

         Attleboro,	MA	02703.		


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    18. Mary	 Campbell	 	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	 and/or	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	 from	 December	 1955	 to	 April	 1971	 and,	 as	 a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

    19. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Mary	

         Campbell,	 developed	 squamous	 cell	 carcinoma	 in	 situ	 of	 the	 cervix	 and	

         was	diagnosed	on	October	21,	1975.		

    20. Mary	Campbell	suffered	these	injuries	as	a	direct	and	proximate	result	of	

         the	Defendant’s	conduct.	

	

PLAINTIFF	SIX	–	COTTER	

    21. The	Plaintiff,	John	Cotter,	currently	resides	at	691	Hartland	Road	Tolland,	

         MA	01034.		

    22. John	Cotter		was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

         C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	from	July	1981	to	January	1992	and,	as	a	direct	and	

         proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

         uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

         Defendant.	




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    23. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	John	Cotter,	

         developed	papillary	carcinoma	of	the	thyroid	and	was	diagnosed	on	June	

         24,	2008.		

    24. John	Cotter	suffered	these	injuries	as	a	direct	and	proximate	result	of	the	

         Defendant’s	conduct.	

	

PLAINTIFF	SEVEN	-	DRATWINSKI	

    25. The	 Plaintiff,	 Irma	 Dratwinski,	 currently	 resides	 at	 61	 Greenwich	 Street	

         South	Attleboro,	MA	02703.		

    26. Irma	Dratwinki	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M

         & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	 from	 1967	 to	 1989	 and,	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

         other	radioactive	materials	while	employed	by	the	Defendant.	

    27. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Irma	

         Dratwinski,	 developed	 breast	 cancer	 was	 diagnosed	 on	 November	 2,	

         1999.		

    28. Irma	Dratwinki	suffered	these	injuries	as	a	direct	and	proximate	result	of	

         the	Defendant’s	conduct.	

	

PLAINTIFF	EIGHT	-	GAGNON	

      29. The	 Plaintiff,	 Peter	 Gagnon,	 currently	 resides	 at	 22	 Eleanor	 Drive	

         Cumberland,	RI	02864.		


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        30. Peter	Gagnon		was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M

           & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 February	 1977	 to	 January	 2002	 and,	 as	 a	

           direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        31. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Peter	

           Gagnon,	 developed	 appendix	 cancer	 and	 was	 diagnosed	 on	 January	 23,	

           2008.	 Peter	 Gagnon	 also	 developed	 prostate	 cancer	 and	 was	 diagnosed	

           on	August	20,	2012.			

        32. Peter	 Gagnon	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	 result	 of	

           the	Defendant’s	conduct.	

    	

PLAINTIFF	NINE	–	GRENIER	

    33. The	Plaintiff,	Joseph	Grenier,	currently	resides	at	30	Olney	Street	Apt	410	

           Taunton,	MA	02780.	

    34. Joseph	Grenier	was	employed	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

           C Nuclear, Inc., the wholly owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 1953	 to	 1985	 and,	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

           other	radioactive	materials	while	employed	by	the	Defendant.	

    35. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Joseph	

           Grenier	developed	skin	cancer,	non-small	cell	carcinoma	of	the	right	lung	



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           and	cancer	of	the	lip	and	was	diagnosed	on	January	10,	2010	and	was	re-

           diagnosed	with	lung	cancer	in	February	2014.	

    36. Joseph	Grenier	suffered	these	injuries	as	a	direct	and	proximate	result	of	

           the	Defendant’s	conduct.	

    	

PLAINTIFF	TEN	–	LATIMER	

    37. The	Plaintiff,	Charles	Latimer	Jr.,	currently	resides	at	956	Longview	Drive	

           North	Attleboro,	MA,	02760.	

    38. Charles	 Latimer	 Jr.	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

           and/or	 M & C Nuclear, Inc., the wholly owned subsidiary of Metals and

           Controls, Inc. (collectively “M&C”),	from	September	1959	to	January	199	

           and,	 as	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	

           exposed	 to	 enriched	 uranium	 and	 other	radioactive	 materials	 while	

           employed	by	the	Defendant.	

    39. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Charles	

           Latimer	 Jr.	 developed	 rectal	 polyps,	 which	 were	 diagnosed	 as	

           adenocarcinoma,	colon	cancer	on	July	29,	1992.	

    40. Charles	Latimer	Jr.	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

    	

PLAINTIFF	ELEVEN	–	MARQUES	

        41. The	Plaintiff,	Ely	Marques,	currently	resides	at	30	Olney	Street	Apartment	

           306	Taunton,	MA	02780.		


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      42. Ely	Marques	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

         C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	from	November	1968	to	September	1986	and,	as	a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      43. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Ely	Marques,	

         developed	a	thyroid	nodule	on	the	right	lobe	and	a	mass	on	the	right	lung	

         and	was	diagnosed	July	14,	2009.		

      44. Ely	Marques	suffered	these	injuries	as	a	direct	and	proximate	result	of	the	

         Defendant’s	conduct.	

	

PLAINTIFF	ELEVEN	-	MENARD	

    45. The	 Plaintiff,	 Barbara	 Menard,	 currently	 resides	 at	 119	 Grandview	

         Avenue,	Woonsocket,	RI	02895.	

    46. Barbara	Menard	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

         M & C Nuclear, Inc., the wholly owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	 from	 December	 1987-	 March	 1970	 and	 July	

         1970	 –	 February	 1972,	 and,	 as	 a	 direct	 and	 proximate	 result	 of	 the	

         Defendant’s	 conduct,	 was	 exposed	 to	 enriched	 uranium	 and	

         other	radioactive	materials	while	employed	by	the	Defendant.	

    47. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Barbara	

         Menard	developed	basil	cell	carcinoma,	skin	cancer	and	was	diagnosed	in	



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           1980	 and	 develop	 invasive	 ductal	 carcinoma	 of	 the	 left	 and	 right	 breast	

           and	was	diagnosed	on	October	13,	2011.		

    48. Barbara	Menard’s	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

    	

PLAINTIFF	TWELVE	–	MOURA	

        49. The	 Plaintiff,	 Maria	 Moura,	 currently	 resides	 at	 46	 Emma	 Ave	 Taunton,	

           MA	02780.		

        50. Maria	Moura	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

           C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 1976	 to	 2001	 and,	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

           other	radioactive	materials	while	employed	by	the	Defendant.	

        51. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Maria	Moura,	

           developed	breast	and	thyroid	cancer	and	was	diagnosed	in	1987.		

        52. Maria	 Moura	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	 result	 of	

           the	Defendant’s	conduct.	

    	

PLAINTIFF	THIRTEEN	–	PEDRO	

        53. The	 Plaintiff,	 Maria	 Pedro,	 currently	 resides	 at	 195	 Dunbar	 Street	

           Taunton,	MA	02780.		

        54. Maria	Pedro	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

           C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.


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         (collectively “M&C”),	from	April	1973	to	December	2005	and,	as	a	direct	

         and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      55. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Maria	Pedro,	

         developed	right	breast	cancer	and	was	diagnosed	in	March	1996.		

      56. Maria	Pedro	suffered	these	injuries	as	a	direct	and	proximate	result	of	the	

         Defendant’s	conduct.	

	

PLAINTIFF	FOURTEEN	-	PHILLIPS	

    57. The	 Plaintiff,	 Charmayne	 Phillips,	 currently	 resides	 at	 72	 Whipple	 Road	

         Smithfield,	RI	02917.	

    58. Charmayne	 Phillips	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

         and/or	 M & C Nuclear, Inc., the wholly owned subsidiary of Metals and

         Controls, Inc. (collectively “M&C”),	 from	 March	 1963	 to	 May	 1965	 and	

         from	 October	 1965	 to	 February	 1966	 and,	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

         other	radioactive	materials	while	employed	by	the	Defendant.	

    59. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Charmayne	

         Phillips	developed	melanoma	on	the	right	posterior	shoulder;	squamous	

         cell	 carcinoma	 in	 the	 neck	 was	 diagnosed	 in	 2003.	 Charmayne	 Phillips	

         developed	 infiltrating	 duct	 carcinoma	 nuclear	 grade	 2,	 intra	 ductal	

         carcinoma	 cribriform	 type,	 and	 nuclear	 grade	 2	 with	 focal	 central	


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            necrosis	and	cancer	of	the	right	breast	and	was	diagnosed	on	November	

            17,	2005.	

    60. Charmayne	 Phillips	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

            result	of	the	Defendant’s	conduct.	

    	

PLAINTIFF	FIFTEEN–	RICKETS	

        61. The	 Plaintiff,	 Lillian	 Rickets,	 currently	 resides	 at	 30	 Olney	 Street,	 Apt.	

            409,	Taunton,	MA	02780.	

        62. Lillian	Rickets	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M

            & C Nuclear, Inc., the wholly owned subsidiary of Metals and Controls, Inc.

            (collectively “M&C”),	from	1968	to	1994,	and,	as	a	direct	and	proximate	

            result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

            other	radioactive	materials	while	employed	by	the	Defendant.	

        63. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Lillian	

            Rickets	developed	a	brain	tumor	and	was	diagnosed	in	1990;	skin	cancer	

            (melanoma)	 was	 diagnosed	 in	 1997	 and	 1998.	 Lillian	 Ricketts	 again	

            developed	 abnormal	 skin	 cells	 (melanoma)	 and	 was	 diagnosed	 in	 2002,	

            2006	and	2011.	

        64. Lillian	Rickets	suffered	these	injuries	as	a	direct	and	proximate	result	of	

            the	Defendant’s	conduct.	

	

	

	


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PLAINTIFF	SIXTEEN	–	SICKINGER	

      65. The	 Plaintiff,	 Ernest	 Sickinger,	 currently	 resides	 at	 2384	 Westfield	 Road	

         Mount	Airy,	NC	27030.		

      66. Ernest	Sickinger	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	from	January	1965	to	May	1966	and,	as	a	direct	

         and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      67. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Ernest	

         Sickinger,	 developed	 lung	 cancer	 and	 was	 diagnosed	 on	 June	 22,	 2001.	

         Ernest	Sickinger	was	also	developed	basal	cell	carcinoma,	squamous	cell	

         carcinoma	 and	 malignant	 melanoma	 and	 was	 diagnosed	 in	 1998,	 2007,	

         2008,	and	2013.	

      68. Ernest	Sickinger	suffered	these	injuries	as	a	direct	and	proximate	result	

         of	the	Defendant’s	conduct.	

	

PLAINTIFF	SEVENTEEN	-	SIMONIN	

      69. The	 Plaintiff,	 George	 Simonin,	 currently	 resides	 at	 11	 Norma	 Street,	

         Johnston,	RI	02919.	

      70. George	 Simonin	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	 and/or	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	from	December	1965	to	October	1974	and,	as	a	



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           direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        71. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 George	

           Simonin	 developed	 leukemia	 and	 skin	 cancer	 and	 was	 diagnosed	 on	

           October	9,	2001	and	colon	cancer	was	diagnosed	in	February	2012.		

        72. 	George	Simonin	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

    	

PLAINTIFF	EIGHTEEN	–	SKINNER	

        73. The	 Plaintiff,	 Donald	 Skinner,	 currently	 resides	 at	 245	 Wildwood	 Road	

           #223	Saint	Augustine,	FL	32026.		

        74. 	was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	 and/or	 M & C Nuclear,

           Inc., the wholly-owned subsidiary of Metals and Controls, Inc. (collectively

           “M&C”),	 from	 October	 1950	 to	 March	 1960	 and,	 as	 a	 direct	 and	

           proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

           uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

           Defendant.	

        75. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Donald	

           Skinner,	developed	prostate	cancer	and	was	diagnosed	on	July	8,	1999.		

        76. Donald	Skinner	suffered	these	injuries	as	a	direct	and	proximate	result	of	

           the	Defendant’s	conduct.	

    	



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PLAINTIFF	NINETEEN	–	SMITH	

        77. The	 Plaintiff,	 Irene	 Smith,	 currently	 resides	 at	 2924	 Pawtucket	 Avenue	

           Apartment	1	Riverside,	RI	02915.	

        78. Irene	Smith	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

           C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 1969	 to	 2000	 and,	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

           other	radioactive	materials	while	employed	by	the	Defendant.	

        79. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Irene	Smith,	

           developed	Basil	Cell	Carcinoma	on	the	upper	and	lower	back	and	upper	

           right	arm	and	was	diagnosed	on	April	19,	2006.		

        80. 	Irene	Smith	suffered	these	injuries	as	a	direct	and	proximate	result	of	the	

           Defendant’s	conduct.	

    	

PLAINTIFF	TWENTY	–	PEDRO	

        81. The	 Plaintiff,	 Maria	 Pedro,	 currently	 resides	 at	 195	 Dunbar	 Street	

           Taunton,	MA	02780.		

        82. Maria	Pedro	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M &

           C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	from	April	1973	to	December	2005	and,	as	a	direct	

           and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	




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         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      83. As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Maria	Pedro,	

         developed	right	breast	cancer	and	was	diagnosed	in	March	1996.		

      84. Maria	 Perdro	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	 result	 of	

         the	Defendant’s	conduct.	

	

PLAINTIFF	TWENTY-ONE	–	TORNGREN,	BRETT	

      85. The	 Plaintiff,	 Brett	 Torngren,	 currently	 resides	 at	 56	 Sherman	 Avenue	

         North	Providence,	RI	02911.		

      86. 	Brett	 Torngren	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	 and/or	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	 from	 August	 1984	 to	 October	 1987	 and,	 as	 a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      87. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Brett	

         Torngren,	developed	testicular	cancer	and	was	diagnosed	on	December	1,	

         2012.		

      88. Brett	Torngren	suffered	these	injuries	as	a	direct	and	proximate	result	of	

         the	Defendant’s	conduct.	

	

	


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PLAINTIFF	TWENTY-TWO	–	TORNGREN,	FRANK	

      89. The	 Plaintiff,	 Frank	 Torngren,	 currently	 resides	 at	 39	 Slater	 Street,	

         Attleboro,	MA	02703.	

      90. Frank	Torngren,	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

         M & C Nuclear, Inc., the wholly owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	 from	 1967	 to	 1975	 and,	 as	 a	 direct	 and	

         proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

         uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

         Defendant.	

      91. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Frank	

         Torngren	developed	Squamous	Cell	Carcinoma	of	the	right	vocal	cord	and	

         was	 diagnosed	 on	 August	 13,	 2013.	 Frank	 Torngren	 also	 developed	

         laryngeal	 lesions	 and	 carcinoma	 of	 the	 larynx	 and	 was	 diagnosed	 on	

         February	27,	2014,		

      92. Frank	Torngren	suffered	these	injuries	as	a	direct	and	proximate	result	of	

         the	Defendant’s	conduct.	

	

PLAINTIFF	TWENTY-THREE	–	ZAREMBOVICZ	

      93. The	 Plaintiff,	 Colleen	 Zarembovicz,	 currently	 resides	 at	 73	 Spring	 Street	

         North	Attleboro,	MA	02703.		

      94. Colleen	 Zarembovicz	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

         and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

         Controls, Inc. (collectively “M&C”),	from	January	1974	to	May	2007	and,	



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         as	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	was	exposed	

         to	enriched	uranium	and	other	radioactive	materials	while	employed	by	

         the	Defendant.	

      95. As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Colleen	

         Zarembovicz,	developed	ovarian	cancer	and	was	diagnosed	on	March	10,	

         1996.		

      96. Colleen	 Zarembovicz	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct.	

	

PLAINTIFF	TWENTY-FOUR	-	BALSER	ESTATE	

      97. The	Plaintiff,	the	Estate	of	Charles	W.	Balser,	by	Ann	Balser,	its	Personal	

         Representative,	 who	 resides	 at	 730	 North	 Main	 Street	 Attleboro,	 MA	

         02703.	

      98. Charles	 Balser	 is	 survived	 by	 his	 wife,	 Ann	 Balser,	 who	 resides	 at	 730	

         North	 Main	 Street,	 Attleboro,	 MA	 02703.	 Charles	 Balser	 is	 also	 survived	

         by	 two	 children	 a	 daughter,	 Gail	 Balser,	 of	 182	 North	 Main	 Street	

         Attleboro,	 MA	 02703;	 and	 a	 son,	 Steven	 Balser,	 of	 39	 Victoria	 Road	

         Sudbury,	 MA	 01776.	 Charles	 Balser	 is	 survived	 by	 four	 grandchildren,	

         Shawna	 O’Brien	 of	 182	 North	 Main	 Street	 Attleboro,	 MA	 02703;	 Nathan	

         Balser	of	39	Victoria	Road	Sudbury,	MA	01776;	Anna	Balser	of	39	Victoria	

         Road	 Sudbury,	 MA	 01776;	 and	 Madeline	 Balser	 of	 39	 Victoria	 Road	

         Sudbury,	MA	01776.	




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        99. Charles	Balser	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	M & C

           Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”), from	1949	to	1990	and,	as	a	direct	and	proximate	

           result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

           other	radioactive	materials	while	employed	by	the	Defendant.	

        100.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Charles	

           Balser	     developed	       anemia,	      lymphedema,	         hydronephrosis,	

           hypopotassemia,	 gastroesophageal	 reflux,	 diffuse	 osseous	 metastases	 of	

           from	 carcinoma	 of	 the	 prostate,	 secondary	 malignant	 neoplasm	 bone,	

           malignant	 neoplasm	 prostate	 cancer	 and	 malignant	 neoplasm	 bone	

           cancer	 and	 was	 diagnosed	 on	 October	 29,	 1991.	 Charles	 Balser	 also	

           developed	 extensive	 mixed	 lytic	 and	 sclerotic	 metastases	 involving	 the	

           pelvis	and	right	femur,	hematuria,	elevation	of	the	renal	function	text	and	

           transitional	 cell	 carcinoma	 of	 the	 posterior	 bladder	 wall	 on	 January	 23,	

           1993.		

        101.   Charles	Balser	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

        102.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Charles	

           Balser	died	September	16,	1993,	as	a	result	of	these	injuries.	

    	

PLAINTIFF	TWENTY-FIVE	-	CHASE	ESTATE	

        103.   The	Plaintiff,	the	Estate	of	Audrey	Chase,	by	Marcia	Miller,	its	Personal	

           Representative,	who	resides	at	10	Holden	Street	Attleboro,	MA	02703.			



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        104.   Audrey	Chase	is	survived	by	her	daughter,	Marcia	Miller,	of	10	Holden	

           Street,	Attleboro,	MA	02703.		

        105.   Audrey	Chase	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	M

           & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	from	March	1951	to	April	1953	and	as	a	direct	and	

           proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

           uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

           Defendant.	

        106.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Audrey	

           Chase	 developed	 stage	 IV	 transitional	 cell	 carcinoma	 of	 the	 bladder	 and	

           was	diagnosed	in	February	2000.	

        107.   Audrey	Chase	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

        108.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Audrey	

           Chase	died	February	24,	2002	as	a	result	of	these	injuries.			

    	

PLAINTIFF	TWENTY-SIX	–	DIRENZO	ESTATE	

        109.   The	Plaintiff,	the	Estate	of	Juliano	DiRenzo	by	Samantha	DiRenzo,	its	

           Personal	Representative,	who	resides	at	5	Cemetery	Street	Hopedale,	MA	

           01747.		

        110.   Juliano	 DiRenzo	 is	 survived	 by	 his	 three	 grandchildren,	 Samantha	

           DiRenzo	 of	 5	 Cemetery	 Street	 Hopedale,	 MA	 01747;	 Dylan	 DiRenzo	 of	




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         1192	 Social	 Street	 Woonsocket,	 RI	 02895;	 and	 Corey	 DiRenzo	 of	 1192	

         Social	Street	Woonsocket,	RI	02895.		

      111.   Juliano	 DiRenzo	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	 and	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	from	September	1950	-	January	1986	and,	as	a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      112.   	As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Juliano	

         DiRenzo	 developed	 gastric	 cancer,	 prostate	 cancer,	 coronary	 artery	

         disease,	 congestive	 heart	 failure	 and	 abdominal	 aneurysms	 and	 was	

         diagnosed	in	September	2003.	

      113.   Juliano	 DiRenzo	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct.	

      114.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Juliano	

         DiRenzo	died	October	1,	2004,	as	a	result	of	these	injuries.	

	

    PLAINTIFF	TWENTY-SEVEN	–	DIIORIO	ESTATE	

      115.   The	 Plaintiff,	 the	 Estate	 of	 Michael	 P.	 DiIorio	 by	 Sylvia	 Collins,	 its	

         Executrix,	who	resides	at	286	Lakeshore	Drive	West	Warwick,	RI	02889.		

      116.   Michael	 P.	 DiIorio	 is	 survived	 by	 his	 wife,	 Ms.	 Sylvia	 Collins,	 who	

         resides	 at	 286	 Lakeshore	 Drive,	 West	 Warwick,	 RI	 02889.	 Michael	 P.	




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         DiIorio	is	also	survived	by	his	six	children,	Lisa	DiIorio,	Shannon	DiIorio,	

         Michael	DiIorio,	Jr.,	Christopher	DiIorio,	Kyle	Jolly	and	Ethan	Jolly.		

      117.   Michael	P.	DiIorio	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	from	October	1965	to	November	1996	and,	as	a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      118.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Michael	

         P.	 DiIorio	 developed	 acute	 lymphocytic	 leukemia	 and	 was	 diagnosed	 in	

         1989.		

      119.   Michael	 P	 DiIorio	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct.	

      120.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Michael	

         P.	DiIorio	died	November	16,	1996,	as	a	result	of	these	injuries.		        		     	

	

    PLAINTIFF	TWENTY-EIGHT	–	ELLERY	ESTATE	

      121.   The	Plaintiff,	the	Estate	of	Carl	F.	Ellery,	by	Joan	Costello,	its	Personal	

         Representative,	who	resides	at	63	Old	Field	Road	Plymouth,	MA	02360.			

      122.   Carl	Ellery	is	survived	by	his	wife,	Virginia	Ellery	of	63	Old	Field	Road,	

         Plymouth,	 MA	 02360.	 Carl	 Ellery	 is	 also	 survived	 by	 three	 children	 a	

         daughter,	Joan	Costello	of	63	Old	Field	Road	Plymouth,	MA	02360;	a	son,	




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           John	Ellery	of	2489	LeClaire	Road	Concord,	VT	05824;	and	a	son,	Thomas	

           Ellery,	of	133	Dodbrook	Court,	Roseville,	CA	95747.		

        123.   Carl	Ellery	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	M & C

           Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 October	 1963	 to	 March	 1965	 and	 also	 from	

           November	1973	to	July	1986	and,	as	a	direct	and	proximate	result	of	the	

           Defendant’s	 conduct,	 was	 exposed	 to	 enriched	 uranium	 and	

           other	radioactive	materials	while	employed	by	the	Defendant.	

        124.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Carl	

           Ellery	 developed	 mild	 prostate	 enlargement,	 Grade	 II	 bladder	

           trabeculation	 and	 splaying	 of	 the	 left	 upper	 calyces,	 metastasis	 to	 the	

           right	adrenal	gland	and	left	renal	cell	carcinoma	and	was	diagnosed	July	

           12,	1982.	

        125.   	Carl	Ellery	suffered	these	injuries	as	a	direct	and	proximate	result	of	

           the	Defendant’s	conduct.	

        126.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Carl	

           Ellery	died	March	17,	2004,	as	a	result	of	these	injuries.			    			     		

    	

    PLAINTIFF	TWENTY-NINE	–	FONSECA	ESTATE		

        127.   The	Plaintiff,	the	Estate	of	Maria	Fonseca,	by	Ana	Fonseca,	its	Personal	

           Representative,	who	resides	at	730	Pike	Avenue	Attleboro,	MA	02703.			

        128.   Maria	Fonseca	is	survived	by	her	daughter,	Ana	Fonseca,	of	730	Pike	

           Avenue	Attleboro,	MA	02703.		



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        129.   Maria	Fonseca	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	M

           & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 September	 1969	 to	 February	 2002	 and	 as	 a	

           direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        130.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Maria	

           Fonseca	 developed	 thyoma	 and	 was	 diagnosed	 in	 December	 2002	 and	

           anaplastic	astrocytoma	brain	in	the	left	temporal	lobe	and	was	diagnosed	

           in	September	2010.	

        131.   	Maria	Fonseca	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

        132.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Maria	

           Fonseca	died	November	6,	2011	as	a	result	of	these	injuries.			

    	

    PLAINTIFF	THIRTY	-	GABOURY	ESTATE	

        133.   The	 Plaintiff,	 the	 Estate	 of	 Richard	 H.	 Gaboury,	 by	 Beth-	 Anne	

           Gaboury,	 its	 Personal	 Representative,	 who	 resides	 at	 377	 Robinson	

           Avenue	Attleboro,	MA	02703.			

        134.   Carl	Ellery	is	survived	by	his	wife,	Mary	Gaboury,	of	211	Pelican	Road,	

           Clearwater,	FL	33764.		Richard	Gaboury	is	also	survived	by	three	children	

           a	 daughter,	 Beth-	 Anne	 Gaboury	 of	 377	 Robinson	 Avenue	 Attleboro,	 MA	




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           02703;	a	son,	Richard	Gaboury,	of	PO	Box	195	Hancock,	VT	05748;	and	a	

           daughter,	Sherry	Tinkham,	160	Grant	Street	Attleboro,	MA	02703.		

        135.   Richard	Gaboury	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	

           M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

           Inc. (collectively “M&C”),	 from	 1952	 to	 1960	 and,	 as	 a	 direct	 and	

           proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

           uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

           Defendant.	

        136.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Richard	

           Gaboury	      developed	    acute	    lymphocytic	     leukemia,	     encephalitis,	

           pancreatitis,	neutropenia,	coronary	artery	disease,	and	gastro	esophageal	

           reflux	disease	and	was	diagnosed	on	September	20,	1991.	

        137.   Richard	 Gaboury	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct.	

        138.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Richard	

           Gaboury	died	December	28,	1992,	as	a	result	of	these	injuries.			

    	

    PLAINTIFF	THIRTY-ONE		–	GARNEAU	ESTATE		

        139.   The	 Plaintiff,	 the	 Estate	 of	 Eugene	 F.	 Garneau,	 by	 David	 Garneau,	 its	

           Personal	Representative,	who	resides	at	1	Ducarl	Drive	Lincoln,	RI	02865.	

        140.   Eugene	 Garneau	 is	 survived	 by	 his	 three	 children	 a	 son,	 David	

           Garneau,	 of	 1	 Ducarl	 Drive	 Lincoln,	 RI	 02865;	 a	 son,	 Kenneth	 Garneau,	




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           170	Birch	Street	Attleboro,	MA	02703	and	a	son,	Eugene	Garneau,	of	163	

           Thatcher	Street	Attleboro,	MA	02703.	

        141.   Eugene	Garneau	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	

           M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

           Inc. (collectively “M&C”),	from	September	1950	to	January	1986	and,	as	a	

           direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        142.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Eugene	

           Garneau	 developed	 renal	 failure	 and	 lung	 cancer	 and	 was	 diagnosed	 in	

           August	2000.	

        143.   Eugene	 Garneau	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct.	

        144.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Eugene	

           Garneau	died	June	1,	2000,	as	a	result	of	these	injuries.			

    	

    PLAINTIFF	THIRTY-TWO	–	GILMORE	ESTATE	

        145.   The	Plaintiff,	the	Estate	of	Evans	Gilmore,	by	Janice	Luthy,	its	Personal	

           Representative,	 who	 resides	 at	 197	 South	 Main	 Street	 Attleboro,	 MA	

           02703.		

        146.   Evans	 Gilmore	 is	 survived	 by	 his	 three	 children	 a	 daughter,	 Janice	

           Luthy,	of	197	South	Main	Street	Attleboro,	MA	02703.		




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        147.   Evans	Gilmore	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

           M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

           Inc. (collectively “M&C”),	from	1950-1980	and,	as	a	direct	and	proximate	

           result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

           other	radioactive	materials	while	employed	by	the	Defendant.	

        148.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Evans	

           Gilmore	 developed	 transitional	 cell	 carcinoma	 of	 the	 bladder	 and	 was	

           diagnosed	in	March	2001.			Evans	Gilmore	also	developed	liver	cyst	and	

           transitional	 cell	 carcinoma	 of	 the	 liver	 cancer	 and	 was	 diagnosed	 in	

           January	2007.	

        149.   Evans	Gilmore	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

        150.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Evans	

           Gilmore	died	March	17,	2007,	as	a	result	of	these	injuries.		 	

    	

    PLAINTIFF	THIRTY-THREE	–	GORMAN	ESTATE	

        151.   The	 Plaintiff,	 the	 Estate	 of	 Lyford	 W.	 Gorman,	 by	 Julie	 Porter,	 its	

           Personal	Representative,	who	resides	at	56	Croyden	Road,	Framingham,	

           MA	01702.			

        152.   Lyford	 W.	 Gorman	 is	 survived	 by	 the	 following	 nine	 children	 Julie	

           Porter,	of	56	Croyden	Road,	Framingham,	MA	01702;	Phillip	Gorman,	of	

           7328	47th	Ave	Circle,	East	Bradenton,	FL	34203;	William	Gorman,	of	3262	

           Scotland	 Street	 Port	 St.,	 FL	 32937;	 John	 Gorman	 of	 350	 Heald	 Road,	



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           Proctorsville,	VT	05153;	Ellen	Sheridan	of	23	Carousel	Drive	Riverside,	RI	

           02915;	 Timothy	 Gorman	 of	 39	 Armstrong	 Drive,	 A	 Randolph	 Ctr.,	 VT	

           05061;	 Joan	 T	 Camara	 of	 24	 Ansel	 White	 Drive,	 Acushnet,	 MA	 02743;	

           Garret	Gorman	of	116	Kentucky	Ave,	Oakridge,	TN	37830;	and	Elizabeth	

           Gianferrante	of	10	Charles	Street,	Sandwich,	MA	02563.			

        153.   Lyford	 W.	 Gorman	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

           and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

           Controls, Inc. (collectively “M&C”),	from	June	1953	to	July	1978	and,	as	a	

           direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        154.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Lyford	W.	

           Gorman	 developed	 numerous	 distal	 gastric	 ulcers,	 bronchopneumonia,	

           emphysema	 and	 diffuse	 histolytic	 (large	 cell)	 lymphoma	 involving	 the	

           spleen,	 para-aortic,	 inguinal,	 cervical	 and	 axillary	 nodes	 and	 was	

           diagnosed	in	June	1983.			

        155.   Lyford	 W.	 Gorman	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct.	

        156.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Lyford	W.	

           Gorman	died	August	21,	1983,	as	a	result	of	these	injuries.				

    	

    PLAINTIFF	THIRTY-FOUR	–	GUIMOND	ESTATE	




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        157.   The	Plaintiff,	the	Estate	of	Theodore	Guimond,	by	Penelope	Rankl,	its	

           Personal	 Representative,	 who	 resides	 at	 8	 Apache	 Lane	 Cumberland,	 RI	

           02864.	

        158.   Theodore	Guimond	is	survived	by	his	daughter,	Penelope	Rankl,	of	8	

           Apache	Lane,	Cumberland,	RI	02864.	

        159.   Theodore	 Guimond	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

           and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

           Controls, Inc. (collectively “M&C”),	from	January	1952	to	December	1967	

           and,	 as	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	

           exposed	 to	 enriched	 uranium	 and	 other	radioactive	 materials	 while	

           employed	by	the	Defendant.	

        160.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Theodore	

           Guimond	developed	undifferentiated	large	cell	carcinoma	of	lung	and	was	

           diagnosed	in	December	1968.		

        161.   Theodore	 Guimond	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

           result	of	the	Defendant’s	conduct.	

        162.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Theodore	

           Guimond	died	November	2,	1975,	as	a	result	of	these	injuries.		         	

    	

    PLAINTIFF	THIRTY-FIVE	–	HOYLE	ESTATE	

        163.   The	 Plaintiff,	 the	 Estate	 of	 David	 Hoyle,	 by	 Rosemary	 Hoyle,	 its	

           Personal	 Representative,	 who	 resides	 at	 47	 Pine	 Street	 Norton,	 MA	

           02766.		



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        164.   David	Hoyle	is	survived	by	his	wife,	Rosemary	Hoyle	of	47	Pine	Street,	

           Norton,	MA	02766.		

        165.   David	Hoyle	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M

           & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

           (collectively “M&C”),	 from	 January	 1952	 to	 December	 1967	 and,	 as	 a	

           direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        166.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 David	

           Hoyle	 developed	 colon	 cancer	 and	 was	 diagnosed	 on	 March	 1,	 1998.	

           David	Hoyle	also	developed	metastatic	lesions	on	the	liver,	prostate	and	

           kidney	and	was	diagnosed	in	October	1999.		

        167.   David	Hoyle	suffered	these	injuries	as	a	direct	and	proximate	result	of	

           the	Defendant’s	conduct.	

        168.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 David	

           Hoyle	died	May	19,	2000,	as	a	result	of	these	injuries.		        		     	

    	

    PLAINTIFF	THRITY-SIX	–	LEARY	ESTATE	

        169.   The	Plaintiff,	the	Estate	of	Blanche	Leary,	by	Jane	Hannon,	its	Personal	

           Representative,	 who	 resides	 at	 320	 Circuit	 Avenue,	 (PO	 BOX	 3013),	

           Pocasset,	MA	02559.		

        170.   Blanche	 Leary	 is	 survived	 by	 her	 three	 children	 a	 daughter,	 Jane	

           Hannon,	 of	 320	 Circuit	 Avenue,	 (PO	 Box	 3013),	 Pocasset,	 MA	 02559;	 a	



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           daughter,	 Sandra	 Fothergill-	 Brown,	 of	 9985	 N.	 Pinal	 Ave	 Lot	 135,	 Casa	

           Grande,	 AZ	 85122	 and	 a	 son,	 Jeffery	 Leary,	 of	 8	 Bretton	 Woods	 Drive	

           South	Attleboro,	MA	02703.			

        171.   Blanche	Leary	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

           M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

           Inc. (collectively “M&C”),	 from	 June	 1950	 to	 April	 1975	 and,	 as	 a	 direct	

           and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

           enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

           Defendant.	

        172.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Blanche	

           Leary	 developed	 carcinoma	 of	 the	 left	 breast,	 metastases	 to	 the	 lungs,	

           carcinoma	 of	 the	 left	 retroperitoneum,	 liver,	 carcinoma	 of	 the	

           subcutaneous	 tissues,	 bones,	 peritoneum,	 and	 carcinoma	 of	 the	 left	

           adrenal	gland	and	ovaries	and	was	diagnosed	in	September	1974.	

        173.   Blanche	Leary	suffered	these	injuries	as	a	direct	and	proximate	result	

           of	the	Defendant’s	conduct.	

        174.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Blanche	

           Leary	died	December	14,	1977,	as	a	result	of	these	injuries.	

    	

    PLAINTIFF	THIRTY-SEVEN	–	MCCRETTON	ESTATE	

        175.   The	Plaintiff,	the	Estate	of	Elizabeth	A.	McCretton,	by	Kathy	McGowan,	

           its	Personal	Representative,	who	resides	at	2	Pratt	Lane	North	Attleboro,	

           MA	02760.		



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        176.   Elizabeth	 McCretton	 is	 survived	 by	 her	 children,	 a	 daughter,	 Kathy	

           McGowan	of	2	Pratt	Lane,	North	Attleboro,	MA	02760		

        177.   Elizabeth	 McCretton	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

           and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

           Controls, Inc. (collectively “M&C”),	from	January	1952	to	December	1967	

           and,	 as	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	

           exposed	 to	 enriched	 uranium	 and	 other	radioactive	 materials	 while	

           employed	by	the	Defendant.	

        178.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Elizabeth	

           McCretton	 developed	 infiltrating	 ductal	 adenocarcinoma	 of	 the	 breast	

           with	a	tubular	component	and	was	diagnosed	on	December	17,	1990	and	

           was	diagnosed	with	lung	cancer	on	March	29,	2002.		

        179.   Elizabeth	McCretton	suffered	these	injuries	as	a	direct	and	proximate	

           result	of	the	Defendant’s	conduct.	

        180.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Elizabeth	

           McCretton	died	March	29,	2002,	as	a	result	of	these	injuries.		            	

    	

    PLAINTIFF	THIRTY-EIGHT	–	MOITOZA	ESTATE	

        181.   The	 Plaintiff,	 the	 Estate	 of	 Irene	 Moitoza,	 by	 Peter	 G.	 Moitoza,	 its	

           Personal	 Representative,	 who	 resides	 at	 47	 Weir	 Street,	 Taunton,	 MA	

           02780.		

        182.   Irene	 Moitoza	 is	 survived	 by	 her	 spouse,	 Robert	 A	 Moitoza,	 of	 30	

           Gerbert	Street,	Taunton,	MA	02780.	Irene	Moitoza	is	also	survived	by	her	



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         three	 children,	 Peter	 G.	 Moitoza	 of	 47	 West	 Weir	 Street,	 Taunton,	 MA	

         02780;	 a	 son,	 Paul	 G.	 Moitoza,	 of	 59	 West	 Weir	 Street,	 Taunton,	 MA	

         02780;	 and	 son,	 Robert	 A	 Moitoza	 Jr.,	 15	 Moit’s	 Place,	 Plymouth,	 NH	

         03264.		

      183.   Irene	Moitoza	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	from	January	1951	to	December	1960	and,	as	a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      184.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Irene	

         Moitoza	developed	carcinoma	of	the	colon	and	was	liver	metastases	and	

         was	diagnosed	in	March	1979.		

      185.   Irene	Moitoza	suffered	these	injuries	as	a	direct	and	proximate	result	

         of	the	Defendant’s	conduct.	

      186.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Irene	

         Moitoza	died	March	12,	1979,	as	a	result	of	these	injuries.		 		         	

	

PLAINTIFF	THIRTY-NINE	–	RESENDES	ESTATE	

      187.   The	 Plaintiff,	 the	 Estate	 of	 Antonio	 Resendes,	 by	 Laurinda	 Resendes,	

         its	Personal	Representative,	who	resides	at	58	Robert	Street	Taunton,	MA	

         02780.			




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      188.   Antonio	 Resendes	 is	 survived	 by	 his	 three	 children	 a	 daughter,	

         Laurinda	Resendes,	of	58	Robert	Street	Taunton,	MA	02780,	a	son,	Ryan	

         Resendes	 of	 58	 Robert	 Street	 Taunton,	 MA	 02780	 and	 a	 son,	 Marc	

         Resendes	of	58	Robert	Street	Taunton,	MA	02780.		

      189.   Antonio	Resendes	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	from	July	1973	to	May	2007	and	as	a	direct	and	

         proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

         uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

         Defendant.	

      190.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Antonio	

         Resendes	 developed	 poorly	 differentiated	 carcinoma	 and	 abdominal	

         carcinoma	 and	 was	 diagnosed	 on	 September	 4,	 2008.	 Maria	 Fonseca	

         suffered	these	injuries	as	a	direct	and	proximate	result	of	the	Defendant’s	

         conduct.	

      191.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Antonio	

         Resendes	died		January	1,	2010	as	a	result	of	these	injuries.			

	

PLAINTIFF	FORTY	–	SCHULZE	ESTATE	

      192.   The	Plaintiff,	the	Estate	of	Edward	Lewis	Schulze,	by	Isabel	M.	Schulze,	

         its	Personal	Representative,	who	resides	at	5334	Everwood	Run,	

         Sarasota,	FL	34235.	




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      193.   Edward	Schulze	is	survived	by	his	wife,	Isabel	Schulze,	who	resides	at	

         5334	Everwood	Run,	Sarasota,	FL	34235.			Edward	Schulze	is	also	

         survived	by	four	children	a	daughter,	Susan	Schulze	Kozik,	of	4003	W.	

         Briarcliff	Lane,	Seattle	WA	98199,	a	three	sons,	Martin	Schulze,	of	835	Los	

         Pueblos,	Los	Alamos,	NM	87544,	Robert	Schulze	of	18795	Polvera	Drive,	

         San	Diego	CA		92128	and	David	Schulze,	691	Main	Street,	Apt.	1	Malden,	

         MA	02148.		Edward	Schulze	is	also	survived	by	two	granddaughters,	

         Jaqueline	Schulze	and	Elizabeth	Schulze,	both	at	18795	Polvera	Drive	San	

         Diego	CA	92128.			

      194.   Edward	Schulze	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	

         Metals	and	Controls,	Inc.	(collectively	“M&C”),	from	1957	to	1990	and,	as	

         a	direct	and	proximate	result	of	the	Defendant’s	conduct,	was	exposed	to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      195.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Edward	

         Schulze	developed	terminal	inoperable	lung	cancer	and	was	diagnosed	in	

         January	1995.	

      196.   Edward	Schulze	suffered	these	injuries	as	a	direct	and	proximate	

         result	of	the	Defendant’s	conduct.	

      197.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Edward	

         Schulze	died	July	

	

PLAINTIFF	FORTY-ONE	–	SHELDON	ESTATE	



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      198.   The	Plaintiff,	the	Estate	of	Rose	Sheldon,	by	Judith	Davis,	its	Personal	

         Representative,	who	resides	at	30	Mayflower	Road	Norton,	MA	02766.		

      199.   Rose	 Sheldon	 is	 survived	 by	 her	 daughter,	 Judith	 Davis	 of	 30	

         Mayflower	Road,	Norton,	MA	02766;	and	her	son,	Robert	V.	Sheldon	Jr.	of	

         121	Deimage	Road,	Swansea,	MA	02777.	Rose	Sheldon	is	also	survived	by	

         granddaughter,	 Laurie	 M.	 Lacasse,	 of	 27	 Mayflower	 Road,	 Swansea,	 MA	

         02777;	 grandson,	 Joseph	 Sheldon,	 of	 315	 Central	 Avenue,	 Seekonk,	 MA	

         02771;	 a	 great-grandson,	 Sean	 Sheldon	 of	 108	 Dunnell	 Avenue,	

         Pawtucket,	RI	02860;	great-grandson,	Ryan	Rapoza	of	53	Carlson	Street,	

         Attleboro,	MA	02703;	great-grandson	Michael	James	of	988	Read	Street,	

         Attleboro,	 MA	 02703;	 and	 great-granddaughter,	 Amber	 James	 of	 988	

         Read	Street,	Attleboro,	MA	02703.		

      200.   Rose	Sheldon	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	 from	 1957	 to	 1980	 and,	 as	 a	 direct	 and	

         proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

         uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

         Defendant.	

      201.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Rose	

         Sheldon	 developed	 carcinoma	 of	 the	 left	 breast	 with	 multiple	 osseous	

         metastases,	 metastatic	 bone	 disease	 and	 acute	 renal	 failure	 and	 was	

         diagnosed	on	March	10,	1995.	




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      202.   	Rose	Sheldon	suffered	these	injuries	as	a	direct	and	proximate	result	

         of	the	Defendant’s	conduct.	

      203.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Rose	

         Sheldon	died	March	16,	1995,	as	a	result	of	these	injuries.		 	

	

	

PLAINTIFF	FORTY-TWO	–	SILVIA	ESTATE	

      204.   The	 Plaintiff,	 the	 Estate	 of	 Rose	 Silvia,	 by	 Patricia	 Robichaud,	 its	

         Personal	 Representative,	 who	 resides	 2	 Matteson	 Lane	 Taunton,	 MA	

         02780.			

      205.   Rose	 Silvia	 is	 survived	 by	 her	 three	 children	 a	 daughter,	 Patricia	

         Robichaud	 of	 2	 Matteson	 Lane	 Taunton,	 MA	 02780	 and	 daughter,	 Stacy	

         Silvia	of	2	Matteson	Lane	Taunton,	MA	02780	and	Shari	Robichaud	of	912	

         Lebanon	Road	Pendleton,	SC	29670.	

      206.   Rose	Silvia	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	M & C

         Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	 from	 August	 1979	 to	 September	 1996	 and	 as	 a	

         direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      207.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Rose	

         SIlvia	 developed	 well	 to	 moderately	 differentiated	 squamous	 carcinoma	

         of	 the	 right	 tonsil	 and	 was	 diagnosed	 on	 April	 18,	 1994	 and	 primary	



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         carcinoma	 with	 metastatic	 disease	 to	 the	 bones	 and	 was	 diagnosed	 on	

         June	19,	1996.		

      208.   Rose	Silvia	suffered	these	injuries	as	a	direct	and	proximate	result	of	

         the	Defendant’s	conduct.	

      209.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Rose	

         Silvia	died	September	4,	1996	as	a	result	of	these	injuries.			

	

PLAINTIFF	FORTY-THREE	–	SULLIVAN,	LOURAINE	ESTATE	

      210.   The	 Plaintiff,	 the	 Estate	 of	 Louraine	 Sullivan,	 by	 Edward	 Sullivan,	 its	

         Personal	 Representative,	 who	 resides	 at	 157	 Copperwood	 Road	

         Stoughton,	MA	02072.			

      211.   Louraine	Sullivan	is	survived	by	her	husband,	Edward	Sullivan,	of	157	

         Copperwood	Road	Stoughton,	MA	07	

      212.   Louraine	Sullivan	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	

         M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls,

         Inc. (collectively “M&C”),	 from	 1974	 to1982	 	 and	 as	 a	 direct	 and	

         proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	 enriched	

         uranium	 and	 other	radioactive	 materials	 while	 employed	 by	 the	

         Defendant.	

      213.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Louraine	

         Sullivan	developed	stage	IV	lung	cancer,	a	tumor	in	her	joints	and	brain	

         cancer	and	was	diagnosed	in	2006.	




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      214.   Louraine	 Sullivan	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

         result	of	the	Defendant’s	conduct.	

      215.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Louraine	

         Sullivan	died	February	13,	1956		as	a	result	of	these	injuries.			

	

	

	

PLAINTIFF	FORTY-FOUR	–	SULLIVAN,	PIERRETTE	ESTATE	

      216.   The	Plaintiff,	the	Estate	of	Pierrette	M.	Sullivan,	by	Diane	Desilets,	its	

         Personal	Representative,	who	resides	at	30	Brook	Street	North	Attleboro,	

         MA	02760.		

      217.   Pierrette	 Sullivan	 is	 survived	 by	 two	 daughters,	 Diane	 Desilets	 of	 30	

         Brook	Street,	North	Attleboro,	MA	02760;	and	Paula	Sullivan	of	11	Point	

         View	Place,	Cocoa	FL.	32926.		

      218.   Pierrette	 Sullivan	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

         and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

         Controls, Inc. (collectively “M&C”),	 from	 October	 1954	 to	 January	 1960	

         and,	 as	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	

         exposed	 to	 enriched	 uranium	 and	 other	radioactive	 materials	 while	

         employed	by	the	Defendant.	

      219.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Pierrette	

         Sullivan	 developed	 intraductal	 carcinoma	 of	 the	 breast	 and	 was	

         diagnosed	on	January	14,	1982.	



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      220.   Pierrette	 Sullivan	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

          result	of	the	Defendant’s	conduct.	

      221.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Pierrette	

          Sullivan	died	October	20,	2014,	as	a	result	of	these	injuries.	

	

PLAINTIFF	FORTY-FIVE	–	THORNHILL	ESTATE	

      222.   The	Plaintiff,	the	Estate	of	Elmer	Thornhill,	by	Linda	Love,	its	Personal	

          Representative,	who	resides	at	192	Pearl	Street,	Seymour,	CT	06483.		

      223.   Elmer	 Thornhill	 is	 survived	 by	 his	 daughter,	 Linda	 Love,	 192	 Pearl	

          Street,	Seymour,	CT	06483.		

      224.   Elmer	 Thornhill	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

          and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

          Controls, Inc. (collectively “M&C”),	from	January	1952	to	December	1967	

          and,	 as	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	

          exposed	to	enriched	uranium	and	other	radioactive	materials	while	there.	

      225.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Elmer	

          Thornhill	developed	metastatic	colon	cancer,	metastatic	bone	cancer	and	

          stage	IV	pancreatic	adenocarcinoma	and	was	diagnosed	in	1993.	

      226.   Elmer	 Thornhill	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

          result	of	the	Defendant’s	conduct.	

      227.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Elmer	

          Thornhill	died	May	26,	1994,	as	a	result	of	these	injuries.	

      	



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PLAINTIFF	FORTY-SIX	–	TURGEON	ESTATE	

      228.   The	 Plaintiff,	 the	 Estate	 of	 Barbara	 M.	 Turgeon,	 by	 Michael	 Turgeon,	

          its	 Personal	 Representative,	 who	 resides	 at	 25	 Clarendon	 Avenue	

          Providence,	RI	02906.			

      229.   Barbara	 Turgeon	 is	 survived	 by	 her	 husband,	 Aime	 Turgeon,	 of	 100	

          Garfield	Street,	Attleboro,	MA	02703.	Barbara	Turgeon	is	also	survived	by	

          a	son,	Michael	Turgeon,	of	25	Clarendon	Avenue,	Providence,	RI	02906		

      230.   Barbara	 Turgeon	 was	 employed	 by	 Texas	 Instruments,	 Inc.	 (“TI”)	

          and/or	 M & C Nuclear, Inc., the wholly-owned subsidiary of Metals and

          Controls, Inc. (collectively “M&C”),	 from	 1956	 to	 1957	 and,	 as	 a	 direct	

          and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

          enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

          Defendant.	

      231.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Barbara	

          Turgeon	developed	invasive	carcinoma	of	the	right	breast	with	ductal	and	

          lobular	 features	 and	 was	 diagnosed	 on	 March	 29,	 2001.	 Barabara	

          Turgeon	was	also	developed	enchondroma,	chondrosarcoma	of	the	right	

          femur	and	was	diagnosed	on	April	18,	2002.			

      232.   Barbara	 Turgeon	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	

          result	of	the	Defendant’s	conduct.	

      233.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Barbara	

          Turgeon	died	February	23,	2014,	as	a	result	of	these	injuries.			

      	


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PLAINTIFF	FORTY-SEVEN	–	VALLET	ESTATE	

       234.   The	 Plaintiff,	 the	 Estate	 of	 Anna	 M.	 Vallet,	 by	 Christina	 Cooper,	 its	

          Personal	 Representative,	 who	 resides	 at	 78	 School	 Street,	 Plainville,	 MA	

          02762.		

       235.   Anna	Vallet	has	surviving	spouse	or	children.	Anna	Vallet’s	is	survived	

          by	a	niece,	Christine	Cooper,	of	78	School	Street,	Plainville,	MA	02762.		

       236.   Anna	Vallet	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and/or	M

          & C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

          (collectively “M&C”),	 from	 1959	 to	 1975	 and,	 as	 a	 direct	 and	 proximate	

          result	of	the	Defendant’s	conduct,	was	exposed	to	enriched	uranium	and	

          other	radioactive	materials	while	employed	by	the	Defendant.	

       237.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Anna	

          Vallet	developed	malignant	lymphoma	and	was	diagnosed	in	1986.		

       238.   Anna	Vallet	suffered	these	injuries	as	a	direct	and	proximate	result	of	

          the	Defendant’s	conduct.	

       239.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Anna	

          Vallet	died	June	23,	1986,	as	a	result	of	these	injuries.		         	

PLAINTIFF	FORTY	EIGHT	-	NEVEU	ESTATE	
	
     240. The	 Plaintiff,	 the	 Estate	 of	 Susan	 Neveu,	 by	 Kristina	 Behan,	 its	

          Personal	 Representative,	 who	 resides	 at	 132	 Woodbine	 Street	

          Providence,	RI	02906.			

       241.   Susan	 Neveu	 is	 survived	 by	 her	 three	 children	 a	 daughter,	 Kristine	

          Behan	of	132	Woodbine	Street	Providence,	RI,	a	son,	Timothy	Dagosta	of	



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         2923	 Christopher	 Avenue	 Baltimore,	 MD	 21214	 and	 a	 daughter,	 Terry	

         Dagosta	of	13	Broad	Acre	Farm	Road	Medway,	MA	02053.	

      242.   Susan	Neveu	was	employed	by	Texas	Instruments,	Inc.	(“TI”)	and	M &

         C Nuclear, Inc., the wholly-owned subsidiary of Metals and Controls, Inc.

         (collectively “M&C”),	 from	 July	 1964	 to	 December	 1970	 and	 as	 a	 direct	

         and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 was	 exposed	 to	

         enriched	uranium	and	other	radioactive	materials	while	employed	by	the	

         Defendant.	

      243.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 conduct,	 Susan	

         Neveu	 developed	 stage	 III	 ovarian	 carcinoma,	 rectal	 lesions	 and	 poorly	

         differentiated	 carcinoma	 of	 the	 colon	 and	 metastatic	 carcinoma	 of	 the	

         lymph	nodes	and	was	diagnosed	on	June	2,	2012.	

      244.   Susan	 Neveu	 suffered	 these	 injuries	 as	 a	 direct	 and	 proximate	 result	

         of	the	Defendant’s	conduct.	

      245.   As	a	direct	and	proximate	result	of	the	Defendant’s	conduct,	Susan	

         Neveu	died	February	9,	2014	as	a	result	of	these	injuries.			

	

                                    	DEFENDANT	

      246.   The	 Defendant,	 Texas	 Instruments,	 Inc.	 is	 a	 Delaware	 corporation	

         with	a	principal	place	of	business	at	12500	TI	Boulevard,	Dallas,	Texas.	

      247.   M	 &	 C	 Nuclear,	 Inc.,	 the	 wholly-owned	 subsidiary	 of	 Metals	 and	

         Controls,	Inc.	(collectively	“M&C”	or	“merged	entities”),	are	predecessors	

         to	Defendant,	Texas	Instruments,	Inc.	



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        248.   In	 1959,	 M&C	 merged	 with	 Defendant,	 Texas	 Instruments	 Inc.	

           (collectively	 “TI”	 or	 “Defendant”).	 	 For	 purposes	 of	 this	 complaint	

           “Defendant”,	 “TI”	 and	 “M&C”	 are	 used	 interchangeably	 to	 describe	 the	

           actions	of	the	Defendant.	

        249.   The	 Defendant,	 John	 Doe,	 is	 unknown	 entities	 that	 acted	 in	 concert	

           with	 Defendant,	 Texas	 Instruments,	 Inc.	 to	 improperly	 dispose	 of	

           radioactive	materials	and	other	hazardous	substances.	

           	

                              JURISDICTION	AND	VENUE	

        250.   This	Court	has	jurisdiction	over	the	subject	matter	of	this	action	over	

           the	Defendants	pursuant	to	28	U.S.C.	Section	1332	(diversity	jurisdiction)	

           as	the	matter	in	controversy	exceeds	$75,000.00,	exclusive	of	interest	and	

           costs,	 and	 because	 the	 Defendant	 is	 a	 foreign	 corporation	 based	 outside	

           of	the	Commonwealth	of	Massachusetts.	

    	

        251.   Venue	is	proper	in	this	judicial	district	pursuant	to	28	U.S.C.	Sections	

           1391(b),	1391(c)	and	1395	because	a	substantial	part	of	the	events	that	

           give	rise	to	these	claims	have	occurred	in	this	district	and	the	threatened	

           or	actual	releases	of	radiation	and	hazardous	substances	occurred	in	this	

           district.	

    	




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      252.   All	 the	 parties	 named	 herein	 have	 sufficient	 minimum	 contacts	 with	

         the	 Commonwealth	 of	 Massachusetts	 to	 render	 them	 subject	 to	 its	

         jurisdiction.	

	

                      GENERAL	FACTUAL	ALLEGATIONS	
                                FOR	ALL	COUNTS	
                                         	
      253.   Operations	 with	 radioactive	 materials	 began	 at	 the	 Forest	 Street	

         facility	in	1952	when	M&C	began	fabricating	enriched	uranium	foils	at	its	

         manufacturing	 facility	 on	 Forest	 Street	 (“Forest	 Street	 facility”)	 in	

         Attleboro,	Massachusetts.	

      254.   From	 1952	 through	 1965,	 under	 a	 variety	 of	 government	 contracts,	

         the	 Defendant	 fabricated	 enriched	 uranium	 fuel	 elements	 for	 the	 U.S.	

         Naval	 Reactors	 Program,	 the	 U.S.	 Air	 Force,	 other	 U.S.	 Government-

         funded	 research,	 as	 well	 as	 commercial	 customers	 at	 its	 Forest	 Street	

         facility.	

      255.   From	 1965	 through	 1981,	 the	 Defendant	 fabricated	 fuel	 for	 the	 High	

         Flux	 Isotope	 Reactor	 at	 Oak	 Ridge	 National	 Laboratory	 and	 other	

         Government-owned	research	reactors.	The	Defendant	also	used	depleted	

         uranium	 and	 processed	 natural	 uranium	 at	 the	 Forest	 Street	 facility	 for	

         research	and	development.			

      256.   The	 Defendant	 also	 supplied	 thorium	 foil	 strips	 for	 criticality	

         experiments,	 source	 tests,	 and	 reactivity	 tests.	 The	 Defendant	 vacuum-

         melted	and	cast	the	Thorium	into	flat	ingots.	The	Defendant’s	subsequently	

         rolled	the	ingots	to	the	desired	thickness.	


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      257.   M&C	performed	work	under	various	contracts	with	the	United	States,	

         including	 the	 Atomic	 Energy	 Commission	 (“AEC”)	 and	 its	 contractors.	

         Under	these	contracts,	the	Defendant	manufactured,	among	other	things,	

         nuclear	 fuel	 core	 components	 at	 its	 manufacturing	 facility	 on	 Forest	

         Street	(“Forest	Street	facility”)	in	Attleboro,	Massachusetts.	

      258.   After	 M	 &	 C’s	 merger	 with	 Texas	 Instruments,	 the	 Defendant	

         continued	working	with	radioactive	materials	at	the	Forest	Street	facility	

         under	various	commercial	contracts	as	well	as	contracts	with	the	United	

         States	until	approximately	1981.	

      259.   Work	under	these	contracts	involved	the	use	of	radioactive	materials	

         such	 as	 Uranium-234	 (U-234),	 Uranium-235	 (U-235),	 and	 Uranium-238	

         (U-238).	 Depleted	 uranium	 and	 U-235	 in	 varying	 levels	 of	 enrichment	

         and	thorium	were	also	used	and	generated	by	Defendant	and	its	merged	

         entities	at	the	Forest	Street	facility.	

      260.   Defendant	 and	 its	 merged	 entities’	 operations	 at	 the	 Forest	 Street	

         facility	also	involved	the	manufacturing	of	items	such	as	thermostats	and	

         circuit	breakers	that	contained	radium-226	(R-226).	

      261.   Defendant	and	its	merger	entities	employed	the	Plaintiffs	and	others	

         from	 the	 Attleboro	 area	 in	 the	 1950’s,	 1960’s,	 1970’s	 and	 1980’s	 at	 the	

         Forest	Street	facility.	

      262.   The	Defendant’s	work	related	to	radioactive	materials	was	conducted	

         in	at	least	three	buildings	at	the	Forest	Street	facility.		




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      263.   The	Defendant	initially	conducted	operations	with	radioactive	materials	

         in	what	were	later	designated	Building	4	and	Building	3.	

      264.   In	 1956,	 the	 Defendant	 constructed	 Building	 10	 to	 house	 the	

         manufacturing	work	involving	radioactive	materials.		In	1957,	the	Defendant	

         consolidated	the	work	involving	radioactive	materials	to	that	location.	

      265.   The	 Defendant	 handled	 waste,	 processed	 scraps	 of	 metal	 and	 other	

         residues,	and	treated	waste	acids	and	water	both	inside	and	outside	Building	

         5	 in	 areas	 known	 as	 the	 Metals	 Recovery	 Area	 and	 the	 Stockade.	 	 The	

         Defendant	operated	a	waste	evaporator	and	incinerator	in	Building	5.	

      266.   	Scrap	and	waste	generated	by	the	Defendant’s	manufacturing	processes	

         were	 supposed	 to	 be	 returned	 to	 the	 U.S.	 Government;	 however,	 the	

         Defendant	 negligently	 buried	 materials	 contaminated	 with	 levels	 of	

         radioactivity	onsite	in	a	burial	area	adjacent	to	Building	11.	

      267.   Stemming	from	its	nuclear	fuel	related	operations	at	its	Forest	Street	

         facility,	Defendant	and	its	merged	entities,	M&C,	held	U-234,	U-235,	and	

         U-238	at	the	Forest	Street	facility.	

      268.   As	a	result	of	its	commercial	operations	at	its	Forest	Street	facility,	the	

         Defendant	 and	 merged	 entities	 M&C,	 used	 R-226	 in	 its	 manufacturing	

         processes	at	the	Forest	Street	facility.		

      269.   The	young	men	and	women,	who	are	the	Plaintiffs,	agreed	to	take	jobs	

         at	TI	and	M	&	C	in	the	Forest	Street	facility	and	were	just	starting	careers	

         and	families.			

      270.   None	 of	 the	 Plaintiffs	 were	 ever	 warned	 by	 M	 &	 C,	 or	 later	 the	

         Defendant,	TI,	of	the	dangers	of	working	with	enriched	uranium,	thorium,	

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         and	 other	radioactive	 materials	 and	 as	 a	 result	 was	 negligent	 and	

         breached	its	duty	to	the	Plaintiffs.	

      271.   None	 of	 the	 Plaintiffs	 had	 any	 reason	 to	 believe	 that	 there	 was	 any	

         danger	 in	 working	 with	 or	 around	 enriched	 uranium	 and	

         other	radioactive	materials,	as	the	Defendant	or	its	merged	entities	never	

         warned	 them	 of	 any	 danger	 and	 as	 a	 result	 was	 grossly	 negligent	 and	

         breached	its	duty	to	the	Plaintiffs.	

      272.   None	 of	 the	 Plaintiffs	 had	 any	 reason	 to	 believe	 there	 job	 was	 a	

         potential	 threat	 to	 their	 health,	 as	 the	 Defendant	 or	 its	 merged	 entities	

         never	warned	them	of	the	health	risks.		

      273.   Neither	M	&	C,	or	later	the	Defendant,	TI,	undertook	adequate	steps	to	

         protect	 the	 Plaintiffs,	 as	 their	 employees,	 from	 the	 dangers	 of	 working	

         around	enriched	uranium	and	other	radioactive	materials	and	as	a	result	

         was	grossly	negligent	and	breached	its	duty	to	the	Plaintiffs.	

      274.   Employing	 Radiation	 Health	 Safety	 methods	 and	 protocols	 that	

         minimize	 radiation	 doses	 and	 the	 release	 of	 radioactive	 materials	 is	 not	

         only	 a	 sound	 safety	 principle	 but	 also	 a	 regulatory	 requirement	 for	

         radiation	safety	programs.	

      275.   The	 Defendant	 failed	 to	 employ	 Health	 Safety	 personnel	 adequately	

         trained	 in	 radiation	 health	 physics	 to	 insure	 the	 safety	 of	 its	 employees	

         and	the	Plaintiffs	and	as	a	result	was	grossly	negligent	and	breached	its	

         duty	to	the	Plaintiffs.	

         	



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      276.   The	Defendant	and	its	merged	entities	failed	to	establish	and	enforce	

         an	 adequate	 radiation	 health	 physics	 protocol	 for	 their	 employees	 and	

         the	 Plaintiffs	 in	 accordance	 with	 Atomic	 Energy	 Commission	 (“AEC”),	

         Nuclear	 Regulatory	 Commission	 (“NRC”),	 or	 other	 applicable	 regulatory	

         body	 regulations	 and	 as	 a	 result	 was	 grossly	 negligent	 and	 breached	 its	

         duty	to	the	Plaintiffs.	

      277.   Basic	 radiation	 health	 safety	 policies	 and	 applicable	 regulations	

         required	 that	 radiation	 workers’	 exposure	 be	 monitored	 with	

         appropriate	dosimeter	techniques	and	the	use	of	bioassays	to	insure	that	

         the	radiation	dose	exposure	levels	allowed	for	workers	was	limited.	

      278.   Neither	the	Defendant	nor	its	merged	entities	regularly	monitored	the	

         exposure	 of	 the	 Plaintiffs	 to	 radiation	 with	 dosimeters	 or	 bioassays	 and	

         failed	 to	 effectively	 limit	 the	 Plaintiffs’	 radiation	 dose	 levels	 and	 as	 a	

         result	was	grossly	negligent	and	breached	its	duty	to	the	Plaintiffs.	

      279.   Basic	 radiation	 health	 safety	 policies	 and	 applicable	 regulations	

         required	radiation	workers	to	wear	protective	clothing	and	use	shielding	

         to	decrease	the	exposure	of	radiation	workers	and	to	reduce	radioactive	

         contamination.		

      280.   Neither	 the	 Defendant	 nor	 its	 merged	 entities	 provided	 protective	

         clothing	 and	 shielding	 apparatus	 to	 the	 Plaintiffs	 to	 effectively	 decrease	

         their	exposure	to	radiation	and	reduce	radioactive	contamination	and	as	

         a	result	was	grossly	negligent	and	breached	its	duty	to	the	Plaintiffs.	




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        281.   Basic	 radiation	 health	 safety	 policies	 and	 applicable	 regulations	

           required	 radiation	 workers	 to	 increase	 their	 distance	 to	 radioactive	

           sources	to	decrease	the	exposure	of	radiation	workers.	

        282.   Neither	 the	 Defendant	 nor	 its	 merged	 entities	 employed	 protocols	

           that	 increased	 the	 distance	 of	 the	 Plaintiffs	 to	 radioactive	 sources	 and	

           instead	the	Plaintiffs	were	free	to	come	in	direct	contact	with	radioactive	

           sources	increasing	their	exposure	to	radiation	and	increasing	radioactive	

           contamination	and	as	a	result	was	grossly	negligent	and	breached	its	duty	

           to	the	Plaintiffs.	

        283.   The	Defendant	negligently	allowed	the	Plaintiffs	and	other	employees	

           to	 enter	 areas	 where	 radioactive	 material	 was	 located	 without	 proper	

           restrictions.	 	 The	 Defendant	 negligently	 allowed	 office	 workers	 to	 enter	

           the	 areas	 where	 radioactive	 material	 was	 located	 to	 do	 such	 tasks	 as	

           gather	 paperwork	 and	 pick	 up	 time	 clock	 cards,	 all	 without	 proper	

           protection	or	monitoring.	

        284.   Basic	 radiation	 health	 safety	 policies	 and	 applicable	 regulations	

           required	 radiation	 workers	 to	 minimize	 the	 time	 of	 exposure	 to	

           radioactive	sources	to	reduce	the	exposure	of	radiation	workers.		

        285.   Neither	 the	 Defendant	 nor	 its	 merged	 entities	 employed	 protocols	

           that	minimized	the	time	of	the	Plaintiffs’	exposure	to	radioactive	sources	

           to	thereby	reduce	the	Plaintiffs’	exposure	to	radiation	and	as	a	result	was	

           grossly	negligent	and	breached	its	duty	to	the	Plaintiffs.	

    	



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      286.   The	 Defendant	 and	 its	 merged	 entities	 employed	 policies	 and	

         protocols	that	were	contrary	to	the	health	and	safety	of	the	Plaintiffs	who	

         were	 being	 exposed	 to	 radioactive	 material	 and	 in	 fact	 increased	 their	

         radiation	doses	and	as	a	result	the	Defendant	was	grossly	 negligent	and	

         breached	its	duty	to	the	Plaintiffs.	

      287.   The	 Defendant	 and	 its	 merged	 entities	 employed	 policies	 that	

         required	 the	 Plaintiffs	 to	 work	 overtime	 as	 well	 as	 six	 days	 a	 week	

         thereby	increasing	the	time	of	their	exposure	to	radioactive	material	and	

         in	 fact	 increased	 their	 radiation	 doses	 and	 as	 a	 result	 was	 grossly	

         negligent	and	breached	its	duty	to	the	Plaintiffs.	

      288.   The	Defendant	and	its	merged	entities	took	more	steps	to	protect	the	

         products	 they	 were	 manufacturing	 than	 the	 employees	 who	

         manufactured	 the	 products	 and	 as	 a	 result	 the	 Defendant	 was	 grossly	

         negligent	and	breached	its	duty	to	the	Plaintiffs.	

      289.   Thin	 disposable	 rubber	 gloves	 that	 were	 provided	 to	 the	 Plaintiffs	

         were	for	the	purpose	of	protecting	the	Defendant’s	product	from	damage	

         rather	 than	 the	 Plaintiffs.	 These	 gloves	 were	 disposed	 of	 with	 regular	

         trash	 and	 never	 monitored	 for	 contamination	 and	 as	 a	 result	 the	

         Defendant	was	grossly	negligent	and	breached	its	duty	to	the	Plaintiffs.	

      290.   The	Defendant	did	not	make	inform	the	Plaintiffs	of	their	exposure	to	

         enriched	 uranium	 and	 other	radioactive	 materials	 at	 the	 time	 of	 their	

         exposure	 or	 at	 any	 date	 reasonably	 soon	 thereafter	 and	 as	 a	 result	 was	

         grossly	negligent	and	breached	its	duty	to	the	Plaintiffs.	



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      291.   The	 Defendant	 did	 not	 make	 adequate	 attempts	 to	 reach	 out	 to	 the	

         Plaintiffs	 to	 inform	 them	 of	 their	 exposure	 to	 enriched	 uranium	 and	

         other	radioactive	 materials	 and	 as	 a	 result	 was	 grossly	 negligent	 and	

         breached	its	duty	to	the	Plaintiffs.	

      292.   The	Defendant	after	its	merger	with	M	&	C	continued	to	operate	at	the	

         Forest	 Street	 manufacturing	 facility	 in	 Attleboro,	 Massachusetts	 that	

         included	 uranium	 operations.	 	 The	 Defendant	 continued	 to	 improperly	

         dispose	of	radioactive	material	for	those	operations	on	the	grounds	of	the	

         Forest	Street	facility	and	elsewhere	and	as	a	result	was	grossly	negligent	

         and	breached	its	duty	to	the	Plaintiffs.	

      293.   In	 violation	 of	 nuclear	 material	 disposal	 regulations,	 the	 Defendant	

         buried	 wastes	 from	 the	 manufacturing	 operations	 and	 improperly	

         disposed	 of	 radioactive	 materials	 by	 burying	 them	 in	 an	 outdoor	 area	

         next	to	Building	11	and	at	the	Building	1	location.	Radium	226	was	found	

         by	radiological	surveys	in	Building	1,	the	building	closest	to	Forest	Street	

         and	 as	 a	 result	 was	 grossly	 negligent	 and	 breached	 its	 duty	 to	 the	

         Plaintiffs.	

      294.   Plaintiffs	located	in	all	parts	of	the	Forest	Street	facility	were	exposed	

         to	these	unmonitored	radioactive	materials	on	a	daily	basis.	

      295.   As	a	result	of	extensive	testing	at	the	site,	it	was	determined	that	there	

         was	 extensive	 radioactive	 contamination	 at	 the	 Forest	 Street	 facility	 in	

         addition	 to	 significant	 concentrations	 of	 PCB’s	 volatile	 organic	

         compounds	and	dangerous	heavy	metals.	



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          296.   The	Defendant	began	cleanup	of	uranium	contamination	in	1981	after	

             nuclear	 operations	 ceased	 and	 the	 site’s	 government	 license	 to	

             manufacture	nuclear	materials	lapsed.	

          297.   Decontamination	of	the	Forest	Street	facility	by	the	Defendant	was	not	

             completed	until	at	least	1997.	

          298.   Despite	 the	 Defendants	 clean	 up	 of	 the	 grounds	 of	 the	 Forest	 Street	

             facility,	the	Plaintiffs,	including	but	not	limited	to	those	who	handled	and	

             fabricated	 nuclear	 fuels	 and	 switches,	 disposed	 of	 scrap	 and	 performed	

             laboratory	 testing,	 still	 carried	 in	 their	 bodies	 the	 effects	 of	 their	

             exposure	 to	 radioactive	 materials	 and	 other	 substances	 at	 the	 Forest	

             Street	facility.	

          299.   The	Defendant	dumped	some	of	the	waste	from	the	Defendant’s	plant	

             in	 the	 former	 Shpack	 landfill	 on	 the	 Norton-Attleboro	 line	 as	 well	 as	

             various	other	sites	throughout	the	City	of	Attleboro.	

          300.   The	 Defendant	 sold	 the	 Attleboro	 Forest	 Street	 facility	 and	

             manufacturing	 complex	 in	 2006	 but	 has	 never	 made	 adequate	 attempts	

             to	contact	workers	or	their	surviving	family	members.			

	

                                    FIRST	CLAIM	FOR	RELIEF	
                                 NEGLIGENCE/GROSS	NEGLIGENCE	
                                    All	Plaintiffs	vs.	Defendant	
    	

          301.   The	 preceding	 Paragraphs	 are	 realleged	 and	 incorporated	 herein	 by	

             reference	as	though	set	forth	here	in	their	entirety.	




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      302.   At	 all	 relevant	 times,	 it	 was	 the	 duty	 of	 the	 Defendant	 to	 exercise	 a	

         reasonable	 degree	 of	 care	 for	 Plaintiffs	 by	 preventing	 their	 exposure	 to	

         radioactive	materials	and	other	toxic	and	hazardous	substances	while	in	

         its	employ.	

      303.   At	 all	 relevant	 times,	 it	 was	 the	 duty	 of	 the	 Defendant	 to	 exercise	 a	

         reasonable	degree	of	care	for	Plaintiffs	by	appropriately	warning	them	of	

         the	risks	and	hazards	of	their	exposure	to	radioactive	materials	and	other	

         toxic	and	hazardous	substances	while	in	its	employ.	

      304.   At	 all	 relevant	 times,	 it	 was	 the	 duty	 of	 the	 Defendant	 to	 exercise	 a	

         reasonable	 degree	 of	 care	 for	 Plaintiffs	 by	 appropriately	 handling	 and	

         storing	 the	 radioactive	 materials	 and	 other	 toxic	 and	 hazardous	

         substances	at	the	Forest	Street	facility.	

      305.   At	 all	 relevant	 times,	 it	 was	 the	 duty	 of	 the	 Defendant	 to	 exercise	 a	

         reasonable	degree	of	care	for	Plaintiffs	by	appropriately	monitoring	their	

         exposure	 to	 radioactive	 materials	 and	 other	 toxic	 and	 hazardous	

         substances	while	in	its	employ.	

      306.   The	Defendant	is	grossly	negligent	and	liable	for	failing	to	prevent	the	

         Plaintiffs	 exposure	 to	 the	 radioactive	 materials	 and	 other	 toxic	 and	

         hazardous	substances	at	the	Forest	Street	facility.	

      307.   The	 Defendant	 is	 grossly	 negligent	 and	 liable	 for	 failing	 to	 warn	 the	

         Plaintiffs	 of	 the	 risks	 and	 hazards	 of	 their	 exposure	 to	 the	 radioactive	

         materials	and	other	toxic	and	hazardous	substances	at	the	Forest	Street	

         facility.	



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      308.   The	 Defendant	 is	 grossly	 negligent	 and	 liable	 for	 its	 careless	 and	

         improper	handling	and	storing	radioactive	materials	and	other	toxic	and	

         hazardous	substances	at	the	Forest	Street	facility.	

      309.   The	 Defendant	 is	 grossly	 negligent	 and	 liable	 for	 its	 careless	 and	

         improper	handling	and	storing	radioactive	materials	and	other	toxic	and	

         hazardous	substances	at	the	Forest	Street	facility.	

      310.   	The	 Defendant	 is	 grossly	 negligent	 and	 liable	 for	 its	 careless	 and	

         improper	 monitoring	 of	 the	 Plaintiffs	 exposure	 to	 radioactive	 materials	

         and	other	toxic	and	hazardous	substances	while	in	its	employ.	

      311.   The	Defendant	is	grossly	negligent	and	liable	for	improperly	disposing	

         of	 radioactive	 materials	 and	 other	 toxic	 and	 hazardous	 substances,	

         including	but	not	limited	to	burying	said	substances	on	the	grounds	of	the	

         Forest	Street	facility	and	elsewhere	in	the	City	of	Attleboro.	

      312.   The	 Defendant	 is	 grossly	 negligent	 and	 liable	 for	 failing	 to	 take	

         reasonable	 and	 prompt	 action	 to	 contain	 and	 clean	 up	 the	 radioactive	

         materials	 and	 other	 toxic	 and	 hazardous	 substances	 buried	 on	 the	

         grounds	of	the	Forest	Street	facility.	

      313.   Defendant	 knowingly continued	 to	 manufacture,	 handling	 and	

         disposal	 of	 radioactive	 materials,	 and	 in	 an	 improper	 manner,	 and	 in	

         willful,	 wanton	 and	 reckless	 disregard	 for	 the	 safety	 and	 health	 of	 the	

         Plaintiffs.	




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      314.   The	Defendant’s	pattern	of	conduct	occurred	over	a	lengthy	period	of	

         time,	evidencing	a	pattern	and	practice	of	failure,	recklessness	and	gross	

         negligence.

      315.   As	a	direct	and	proximate	cause	of	the	Defendant’s	foregoing	acts	and	

         omissions,	 the	 Plaintiffs	 were	 not	 properly	 monitored	 and	 as	 a	 result	

         unnecessarily	 and	 unknowingly	 exposed	 to	 radioactive	 materials	 and	

         other	 toxic	 and	 hazardous	 substances,	 as	 a	 result	 of	 which	 the	 Plaintiffs	

         developed	devastating,	debilitating	and	for	some,	fatal	cancers.	

	

                              SECOND	CLAIM	FOR	RELIEF	
                                  NEGLIGENCE	PER	SE	
                              All	Plaintiffs	vs.	Defendant	
	

      316.   The	 preceding	 Paragraphs	 are	 realleged	 and	 incorporated	 herein	 by	

         reference	as	though	set	forth	here	in	their	entirety.	

      317.   At	 all	 relevant	 times,	 it	 was	 the	 duty	 of	 the	 Defendant	 to	 exercise	 a	

         reasonable	 degree	 of	 care	 for	 Plaintiffs	 by	 following	 the	 rules	 and	

         regulations	 of	 the	 Atomic	 Energy	 Commission,	 the	 Nuclear	 Regulatory	

         Commission	 and	 other	 regulatory	 bodies	 with	 respect	 to	 radioactive	

         materials	and	other	toxic	and	hazardous	substances	located	at	the	Forest	

         Street	facility.	

      318.   During	 the	 1950’s,	 1960’s,	 1970’s,	 and	 1980’s,	 the	 Office	 of	 Atomic	

         Energy	 Commission,	 the	 Nuclear	 Regulatory	 Commission	 and	 other	

         regulatory	 bodies	 found	 dissatisfaction	 with	 the	 criticality	 control,	

         production	 control	 and	 health	 physics	 administration	 employed	 by	 the	

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             Defendant	 and	 cited	 the	 Defendant	 for,	 including	 but	 not	 limited	 to,	

             failing	 to	 comply	 with	 relevant	 radiation	 protection	 standards,	 nuclear	

             reactor	 safety,	 public	 health	 and	 safety	 standards,	 and	 environmental	

             protection.		

          319.   The	Defendants	failure	to	abide	by	the	aforesaid	rules	and	regulations	

             is	negligence	per	se.	

          320.   	As	a	direct	and	proximate	cause	of	the	Defendant’s	foregoing	acts	and	

             omissions,	 the	 Plaintiffs	 were	 not	 properly	 monitored	 and	 as	 a	 result	

             exposed	 to	 radioactive	 materials	 and	 other	 toxic	 and	 hazardous	

             substances,	 as	 a	 result	 of	 which	 the	 Plaintiffs	 developed	 devastating,	

             debilitating	and	for	some,	fatal	cancers.	

                                                    	

                             THIRD	CLAIM	FOR	RELIEF	
                    ULTRA-HAZARDOUS	ACTIVITY-	STRICT	LIABILITY	
                             All	Plaintiffs	vs.	Defendant	
    	

          321.   The	 preceding	 Paragraphs	 are	 realleged	 and	 incorporated	 herein	 by	

             reference	as	though	set	forth	here	in	their	entirety.	

          322.   The	 Defendant’s	 manufacture,	 handling	 and	 disposal	 of	 radioactive	

             materials	and	other	toxic	and	hazardous	substances,	constituted	an	ultra-

             hazardous	activity.	

          323.   As	 a	 result	 of	 the	 Defendant’s	 engaging	 in	 the	 aforementioned	 ultra-

             hazardous	activities,	the	Plaintiffs	were	exposed	to	radioactive	materials	

             and	other	toxic	and	hazardous	substances	during	their	employment	with	

             the	Defendant.	


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          324.   Defendant	 is	 strictly	 liable	 for	 any	 harm	 caused	 by	 the	 abnormally	

             dangerous	 activity	 described	 above	 pursuant	 to	 the	 doctrine	 of	 strict	

             liability	set	for	in	the	Restatement	of	Torts,	Section	Edition.	

          325.   The	manufacture,	handling	and	disposal	of	radioactive	materials	and	

             other	 toxic	 and	 hazardous	 substances,	 is	 an	 unreasonably	 dangerous	

             activity	 because	 exposure	 to	 these	 substances	 more	 likely	 than	 not	

             caused	the	development	of	radiogenic	cancers	in	humans.	

          326.   As	a	direct	and	proximate	result	of	the	Defendant’s	highly	dangerous	

             activity,	 as	 set	 forth	 above,	 the	 Plaintiffs	 were	 not	 properly	 monitored	

             and	 as	 a	 result	 exposed	 to	 radioactive	 materials	 and	 other	 toxic	 and	

             hazardous	substances.	

          327.   As	a	direct	and	proximate	result	of	the	Defendant’s	highly	dangerous	

             activity,	 as	 set	 forth	 above,	 the	 Plaintiffs	 have	 developed	 devastating,	

             debilitating	and	for	some,	fatal	cancers.	

	

                                FOURTH	CLAIM	FOR	RELIEF	
                            WILLFUL	AND	WANTON	MISCONDUCT	
                                 All	Plaintiffs	vs.	Defendant	
    	

          328.   The	 preceding	 Paragraphs	 are	 realleged	 and	 incorporated	 herein	 by	

             reference	as	though	set	forth	here	in	their	entirety.	

          329.   At	 all	 times	 relevant,	 the	 Defendant	 knew	 that	 its	 employees	 were	

             being	 exposed	 to	 radioactive	 materials	 and	 other	 toxic	 and	 hazardous	

             substances.	




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      330.   At	 all	 times	 relevant,	 the	 Defendant	 was	 aware	 of	 the	 associated	

         dangers	 and	 risks	 to	 the	 Plaintiffs	 and	 its	 employees	 that	 the	

         inadequately	 monitored	 exposure	 to	 radioactive	 materials	 and	 other	

         toxic	and	hazardous	substances	posed.	

      331.   Despite	knowledge	of	the	associated	dangers	and	risks	to	the	Plaintiffs	

         and	 its	 employees	 from	 the	 inadequately	 monitored	 exposure	 to	

         radioactive	 materials	 and	 other	 toxic	 and	 hazardous	 substances,	 the	

         Defendants	 continued	 to	 manufacture,	 handling	 and	 disposal	 of	

         radioactive	materials,	and	in	an	improper	manner,	and	in	willful,	wanton	

         and	reckless	disregard	for	the	safety	and	health	of	the	Plaintiffs	and	other	

         employees.	

      332.   Despite	knowledge	of	the	associated	dangers	and	risks	to	the	Plaintiffs	

         and	 its	 employees	 from	 the	 inadequately	 monitored	 exposure	 to	

         radioactive	 materials	 and	 other	 toxic	 and	 hazardous	 substances,	

         Defendants	failed	to	warn	the	Plaintiffs	of	the	risks	and	hazards	of	their	

         exposure	 to	 the	 radioactive	 materials	 and	 other	 toxic	 and	 hazardous	

         substances	at	the	Forest	Street	facility.	

      333.   As	 a	 direct	 and	 proximate	 result	 of	 the	 willful,	 wanton	 and	 reckless	

         acts	and/or	omissions	of	the	Defendant,	the	Plaintiffs	were	not	properly	

         monitored	 and	 as	 a	 result	 exposed	 to	 radioactive	 materials	 and	 other	

         toxic	and	hazardous	substances.	




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      334.   As	 a	 direct	 and	 proximate	 result	 of	 the	 willful,	 wanton	 and	 reckless	

         acts	 and/or	 omissions	 of	 the	 Defendant,	 the	 Plaintiffs	 have	 developed	

         devastating,	debilitating	and	for	some,	fatal	cancers.	

      335.   Punitive	 damages	 are	 warranted	 where,	 as	 here,	 the	 Defendants	

         conduct	 was	 reckless	 and	 without	 due	 regard	 for	 the	 health,	 safety	 and	

         well	being	of	the	Plaintiffs	and	its	employees.	

      336.   Punitive	 damages	 are	 warranted	 where,	 as	 here,	 the	 Defendant’s	

         conduct	 is	 such	 that	 damages	 to	 punish	 and	 to	 deter	 in	 the	 future	 are	

         indicated	and	appropriate.		

                                                   	

                               FIFTH	CLAIM	FOR	RELIEF	
                             BREACH	OF	FIDUCIARY	DUTY	
                               All	Plaintiffs	vs.	Defendant	
                                              	
      337.   The	 preceding	 Paragraphs	 are	 realleged	 and	 incorporated	 herein	 by	

         reference	as	though	set	forth	here	in	their	entirety.	

      338.   At	 all	 times	 relevant,	 the	 Defendant	 owed	 a	 fiduciary	 duty	 of	 care	 to	

         the	Plaintiffs	as	its	employees	to	protect	them	from	unreasonable	dangers	

         and	 risks,	 keep	 the	 safe	 from	 injury	 in	 the	 workplace,	 as	 well	 as	 inform	

         them	of	any	potential	dangers	in	the	workplace	environment.	

      339.   At	 all	 times	 relevant,	 the	 Defendant	 possessed	 the	 knowledge	 and	

         expertise	 to	 protect	 the	 Plaintiffs	 from	 the	 unreasonable	 dangers	 and	

         risks	 associated	 with	 their	 unmonitored	 and	 unknowing	 exposure	 to	

         radioactive	materials	and	other	toxic	and	hazardous	substances.		




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      340.   At	all	times	relevant,	the	Defendant	failed	to	employ	properly	trained	

         radiation	 health	 safety	 officers,	 or	 employ	 the	 necessary	 procedures	 or	

         protocols	 to	 protect	 the	 Plaintiffs	 from	 the	 associated	 dangers	 and	 risks	

         associated	 with	 their	 unmonitored	 and	 unknowing	 exposure	 to	

         radioactive	materials	and	other	toxic	and	hazardous	substances.		

      341.   At	 all	 times	 relevant,	 the	 Defendant	 kept	 the	 Plaintiffs	 exposure	 to	

         radioactive	materials	and	other	toxic	and	hazardous	substances	a	secret	

         from	the	Plaintiffs,	thereby	breaching	its	fiduciary	duty	to	the	Plaintiffs.	

      342.   At	all	times	relevant,	the	Defendant	failed	to	provide	a	safe	workplace	

         to	the	Plaintiffs,	thereby	breaching	its	fiduciary	duty	to	the	Plaintiffs.	

      343.   At	 all	 times	 relevant,	 the	 Defendant	 failed	 to	 comply	 with	 standards,	

         rules	 and	 regulations	 issued	 by	 the	 Atomic	 Energy	 Commission,	 the	

         Nuclear	 Regulatory	 Commission	 and	 other	 agencies,	 thereby	 breaching	

         its	fiduciary	duty	to	the	Plaintiffs.	

      344.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 breach	 its	

         fiduciary	duty	to	the	Plaintiffs,	the	Plaintiffs	were	not	properly	monitored	

         and	 as	 a	 result	 exposed	 to	 radioactive	 materials	 and	 other	 toxic	 and	

         hazardous	substances.	

      345.   As	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 breach	 its	

         fiduciary	duty	to	the	Plaintiffs,	the	Plaintiffs	have	developed	devastating,	

         debilitating	and	for	some,	fatal	cancers.	

	

	



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                                           DAMAGES	
                     FIRST	THROUGH	FIFTH	CLAIM	FOR	RELIEF	
                                 All	Plaintiffs	vs.	Defendants	
      346.    As	 a	 result	 of	 their	 exposure	 to	 radioactive	 contaminants	 and	 other	

         toxic	 and	 carcinogenic	 substances,	 and	 as	 a	 consequence	 of	 have	

         contracted	 cancer,	 all	 Plaintiffs	 suffered	 devastating	 injuries	 and	 losses,	

         including,	but	not	limited	to:	

         a. Development	of	Cancer;	

         b. Medical	treatment	and	costs	associated	therewith;		

         c. Future	medical	treatment	and	costs	associated	therewith;	

         d. Diminished	life	expectancy;	

         e. Lost	opportunity	for	earlier	diagnosis	and	treatment	their	injuries	had	

              the	 Plaintiffs	 had	 knowledge	 of	 their	 exposure	 to	 radioactive	

              contaminants	 and	 other	 toxic	 and	 carcinogenic	 substances	 and	

              dangers	associated	therewith;	

         f. Lost	 opportunity	 for	 cure	 of	 their	 injuries	 had	 the	 Plaintiffs	 had	

              knowledge	 of	 their	 exposure	 to	 radioactive	 contaminants	 and	 other	

              toxic	and	carcinogenic	substances	and	dangers	associated	therewith;		

         g. Loss	 of	 availability	 of	 treatment	 modalities	 had	 the	 Plaintiffs	 had	

              knowledge	 of	 their	 exposure	 to	 radioactive	 contaminants	 and	 other	

              toxic	and	carcinogenic	substances	and	dangers	associated	therewith;	

         h. Past	pain	and	suffering;	

         i.   Future	pain	and	suffering;	

         j.   Past	mental	anguish;	

         k. Future	mental	anguish;	


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             l.   Past	lost	earnings;	

             m. Future	loss	of	earnings	and	earning	capacity;	

             n. Disfigurement;	

             o. Humiliation;	

             p. Embarrassment;	

             q. Out	of	pocket	costs;		

             r. Loss	of	life’s	pleasures;	and	

             s. Loss	of	companionship	

    	

                                            DAMAGES		
                     FIRST	THROUGH	FIFTH	CLAIM	FOR	RELIEF	
              Plaintiffs	Twenty-Four	Through	Forty-Eight	vs.	Defendants	
                                                  	
          347. All	 Plaintiffs	 that	 are	 the	 Estate	 of	 the	 Deceased	 employee	 of	 the	

             Defendant	 are	 herein	 referred	 to	 as	 “Estate	 Plaintiffs”	 being	 Plaintiffs	

             Twenty-Four	through	Forty-Eight.	

          348.    As	 a	 result	 of	 their	 exposure	 to	 radioactive	 contaminants	 and	 other	

             toxic	 and	 carcinogenic	 substances,	 and	 as	 a	 consequence	 of	 having	

             developed	cancer,	the	Estate	Plaintiffs	Twenty-Four	through	Forty-Eight	

             suffered	devastating	injuries	and	losses,	including,	but	not	limited	to:	

             a. Development	of	Cancer;	

             b. Medical	treatment	and	costs	associated	therewith;	

             c. Diminished	life	expectancy	and	death;	

             d. Lost	opportunity	for	earlier	diagnosis	and	treatment	their	injuries	had	

                  the	 Plaintiffs	 had	 knowledge	 of	 their	 exposure	 to	 radioactive	



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              contaminants	 and	 other	 toxic	 and	 carcinogenic	 substances	 and	

              dangers	associated	therewith;	

         e. Lost	 opportunity	 for	 cure	 of	 their	 injuries	 had	 the	 Plaintiffs	 had	

              knowledge	 of	 their	 exposure	 to	 radioactive	 contaminants	 and	 other	

              toxic	and	carcinogenic	substances	and	dangers	associated	therewith;		

         f. Loss	 of	 availability	 of	 treatment	 modalities	 had	 the	 Plaintiffs	 had	

              knowledge	 of	 their	 exposure	 to	 radioactive	 contaminants	 and	 other	

              toxic	and	carcinogenic	substances	and	dangers	associated	therewith;	

         g. Pain	and	suffering;	

         h. Mental	anguish;	

         i.   Lost	earnings;	

         j.   Disfigurement;	

         k. Humiliation;	

         l.   Embarrassment;	

         m. Out	of	pocket	costs;		

         n. Loss	of	life’s	pleasures;	and	

         o. Loss	of	companionship	

                         SIXTH	CLAIM	FOR	RELIEF	
                             WRONGFUL	DEATH	
          Plaintiffs	Twenty-Four	Through	Forty-Eight	vs.	Defendants	
                                         	
      349. The	 preceding	 Paragraphs	 are	 realleged	 and	 incorporated	 herein	 by	

         reference	as	though	set	forth	here	in	their	entirety.	

      350.    That	 as	 a	 result	 of	 the	 negligent	 actions,	 as	 well	 as	 their	 willful	 and	

         wanton	misconduct	of	the	Defendant	set	forth	herein,	the	Estate	Plaintiffs	



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         Twenty-Four	 through	 Forty-Eight	 suffered	 physical	 injuries	 set	 forth	

         herein,	other	damages	and	death.	

      351.   That	 the	 conscious	 pain	 and	 suffering,	 physical	 injuries,	 other	

         damages,	and	death	suffered	by	the	Estate	Plaintiffs	was	proximately	and	

         directly	caused	by	the	negligent	acts	of	Defendant	when	they	exposed	the	

         Estate	 Plaintiffs	 to	 enriched	 uranium	 and	 other	radioactive	 materials	

         while	employed	by	the	Defendant.	

      352.   That	 as	 a	 direct	 and	 proximate	 result	 of	 the	 Defendant’s	 negligent	

         actions,	 as	 well	 as	 their	 willful	 and	 wanton	 misconduct,	 caused	 the	

         wrongful	 death	 of	 the	 Estate	 Plaintiffs	 in	 violation	 of	 Massachusetts	

         General	Laws	Ch.	229	§	2.	

      353.   That	 the	 Defendant’s	 wrongful	 actions	 resulted	 in	 hospital,	 medical,	

         funeral,	 and	 burial	 costs,	 and	 deprived	 the	 statutory	 wrongful	 death	

         beneficiaries	 of	 the	 decedent’s	 services,	 protection,	 care,	 assistance,	

         society,	companionship,	comfort,	guidance,	counsel	and	advice.			

      354.   The	 wrongful	 acts	 of	 the	 Defendant,	 as	 stated	 herein,	 caused	

         decedents	 of	 the	 Estate	 Plaintiffs	 to	 endure	 substantial	 conscious	 pain	

         and	suffering	prior	to	their	death,	for	which	their	Estates	are	entitled	to	

         be	compensated.	

      355.   The	 Estate	 Plaintiffs	 are	 entitled	 to	 an	 award	 of	 punitive	 damages	

         pursuant	to	Massachusetts	General	Laws	Ch.	§	2(3)	because	the	deceased	

         employees	 of	 the	 Estate	 Plaintiff’s	 deaths	 were	 caused	 by	 the	 malicious,	

         willful,	wanton,	or	reckless	conduct	of	the	Defendant	and/or	by	the	gross	


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         negligence	 of	 the	 Defendant.	 	 Despite	 knowledge	 of	 the	 associated	

         dangers	 and	 risks	 to	 the	 Estate	 Plaintiffs	 and	 its	 employees	 from	 the	

         inadequately	 monitored	 exposure	 to	 radioactive	 materials	 and	 other	

         toxic	 and	 hazardous	 substances,	 the	 Defendant	 knowingly	 continued	 to	

         manufacture,	 handling	 and	 disposal	 of	 radioactive	 materials,	 and	 in	 an	

         improper	 manner,	 and	 in	 willful,	 wanton	 and	 reckless	 disregard	 for	 the	

         safety	and	health	of	the	deceased	employees	of	the	Estate	Plaintiffs.	

      356.    The	Defendant’s	pattern	of	conduct	occurred	over	a	lengthy	period	of	

         time,	evidencing	a	pattern	and	practice	of	failure,	recklessness	and	gross	

         negligence.	

         	

                                     DAMAGES		
                            SIXTH	CLAIM	FOR	RELIEF	
                               WRONGFUL	DEATH	
             Plaintiffs	Twenty-Four	Through	Forty-Eight	vs.	Defendants	

      357.    The	 family	 members	 of	 the	 deceased	 Estate	 Plaintiffs	 Twenty-Four	

         through	 Forty-Eight	 suffered	 damages	 for	 loss	 of	 companionship,	 lost	

         financial	support,	funeral	expenses	and	other	expenses	related	to	the	care	

         of	 the	 decedents	 of	 the	 Estate	 Plaintiffs	 and	 are	 also	 entitled	 to	 recover	

         damages	 under	 the	 wrongful	 death	 statute	 for	 the	 Decedent’s	 pain	 and	

         suffering	prior	to	their	death.	

	

	

	




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                                   PRAYER	FOR	RELIEF	

WHEREFORE,	the	Plaintiffs,	pray	this	Court:	

    1. That	 the	 Plaintiffs	 each	 be	 awarded	 the	 sum	 of	 Ten	 Million	 Dollars	

        ($10,000,000.00)	 as	 compensatory	 damages	 and	 Fifty	 Million	 Dollars	

        ($50,000,000.00)	 as	 punitive	 damages,	 as	 well	 as	 attorneys	 fees	 and	 costs;	

        and		

    2. That	 the	 Plaintiffs	 be	 granted	 such	 other	 relief	 as	 the	 Court	 deems	 just	 and	

        proper.	

	

DEMAND	IS	HEREBY	MADE	FOR	A	JURY	TRIAL	ON	ALL	ISSUES.	

	

                                                        Respectfully	submitted,	
                                                        	
                                                        The	Defendants,	
                                                        By	their	Attorneys,	
                                                        /s/Lynn	Porreca	
                                                        Lynn	Porreca,	Esquire	
                                                        		BBO	#	659893	
                                                        Email:	lynn@pilaw.me	
                                                        	
                                                        /s/Fiore	Porreca	
                                                        Fiore	Porreca,	Esquire		
                                                        	BBO	#651019	
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                                                        Porreca	Law	Office	
                                                        184	North	Main	Street	
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Dated:		February	18,	2016	



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